Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 1 of 77




                                  APPENDIX A
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 2 of 77




          Chapter 1




                                                                                    S. B . No . 1




 1                                             AN ACT

 2   relating     to      election     integrity        and     security,        including      by

 3   preventing    fraud      in    the   conduct       of    elections     in    this   state ;

 4   increasing criminal penalties; creating criminal offenses.

 5         BE IT ENACTED BY THE LEGISLATURE OF THE STATE OF TEXAS :

 6                           ARTICLE 1.        GENERAL PROVISIONS

 7         SECTION 1.01.            SHORT TITLE.        This Act may be cited as t he

 8   Election Integrity Protection Act of 2021.

 9         SECTION 1.02.            PURPOSE.      The    purpose     of   this     Act     is    to

10   exercise the legislature's constitutional authority under Sect ion

11   4, Article VI, Texas Constitution, to make all laws necessar y to

12   detect and punish fraud.

13         SECTION 1. 03.           FINDINGS.    The legislature finds that:

14                 (1)      full,      free,     and         fair   elections        are        the

15   underpinnings of a stable constitutional democracy;

16                 (2)      fraud in elections threatens the stabilit y o f                       a

17   constitutional democracy by undermining public confidence in the

18   legitimacy of public officers chosen by election;

19                 (3)      reforms are needed to the election laws o f                      this

20   state to ensure that fraud does not undermine the public conf i d ence

21   in the electoral process;

22                 ( 4)     the reforms to the election laws of this state made

23   by this Act are not intended to impair the right of free suffr age

24   guaranteed to the people of Texas by the United States and Te xas



                                                  1
     Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 3 of 77




                                                                              S. B. No. 1

 1    Constitutions,        but    are   enacted solely to prevent        fraud   in the
 2    electoral process and ensure that all legally cast ballots a r e

 3    counted.    Integral to the right to vote is the assurance of vote r
 4    access and the right for all votes legally cast to be counted;

 5                   (5)      additionally, preventing a valid vote from be ing

 6    counted violates the basic constitutional rights guaranteed to eac h
 7    citizen by the United States Constitution; and

 8                   ( 6)     providing    for    voter   access   and   increasing     t he

 9    stabi l ity of a constitutional democracy ensures public confidence
10    in the legitimacy of public officers chosen by election.

11           SECTION 1.04.          Chapter      1,   Election   Code,   is   amended    by

12    adding Section 1.0015 to read as follows:
13           Sec. 1.0015.          LEGISLATIVE INTENT.       It is the intent of t he

14     legislature that the application of this code and the conduct o f
15     elections be uniform and consistent throughout this state to redu ce

16    the likelihood of fraud in the conduct of elections, protect the

17     secrecy of the ballot, promote voter access, and ensure that a ll

18     legally cast ballots are counted.

19           SECTION 1.05.          Section 1.003, Election Code, is amended by
20     adding Subsection (a-1) to read as follows:
21           (a-1)     Election officials and other public officials sha ll
22     strictly construe the provisions of this code to effect the inte nt

23     of the legislature under Section 1. 0015.

24           SECTION 1.06.          Section 1.005, Election Code, is amended by
25     amending Subdivision (4-a) and adding Subdivision (4-b) to read as
26     follows:
27                   ( 4-a)       "Elect ion official" means:
Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 4 of 77
     Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 5 of 77




                                                                                    S.B. No. 1
 1                           ( T)     a tabulation supervisor;
 2                           (U)      an assistant to a tabulation supervisor; and
 3                           (V)      a chair of a county political party holding a
 4    primary election or a runoff primary election.
 5                  (4-b)      "Federal judge" means:
 6                           (A)      a judge, former judge, or retired judge of a
 7    United States court of appeals;
 8                           (B)      a judge, former judge, or retired judge of a
 9    United States district court;
10                           (C)      a judge, former judge, or retired judge of a
11    United States bankruptcy court; or
12                           (D)      a magistrate judge, former magistrate judge,
13    or retired magistrate judge of a United States district court.
14           SECTION 1.07.            Section 1.018, Election Code, is amended to
15    read as follows:
16           Sec. 1.018.            APPLICABILITY OF PENAL CODE.               In addition to
17    Section 1. 03, Penal Code, and to other titles of the Penal Code that
18    may apply to this code, Titles 2 and [ ~ ] 4, Penal C o d e , ~
19     [af:lf:)lieo] to offenses prescribed by this code.

20           SECTION 1.08.            Chapter    1,       Election    Code,    is   amended    by
21    adding Section 1.022 to read as follows:
22           Sec. 1.022.            REASONABLE ACCOMMODATION OR MODIFICATION.                   A

23    provision of this code may not be interpreted to prohibit or limit
24    the   right   of   a     qualified        individual      with     a    disability     from
25    requesting    a    reasonable        accommodation         or   modification      to    any
26    election standard, practice, or procedure mandated by law or rule
27    that the individual is entitled to request under federal or state



                                                      4
     Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 6 of 77




                                                                                            S. B. No. 1

 1    law.

 2                             ARTICLE 2.       REGISTRATION OF VOTERS

 3             SECTION 2.01.        Section 13.002, Election Code, is amended by

 4    adding Subsection (c-1) to read as follows:

 5             (c-1)     The    information required under              Subsections            (c) ( 3 ),

 6     (4),   (5),    (6), and (8) must be supplied by the person desiring to

 7    register to vote.

 8             SECTION 2.02.        Section 13.007, Election Code, is amende d to

 9    read as follows:

10             Sec. 13.007.         FALSE STATEMENT ON APPLICATION.                   (a)     A pe r so n

11    commits an offense if the person knowingly or intentionally:

12                     ill     makes a false statement1.. or

13                     ill     requests, commands, coerces, or attempts to induc e

14    another        person    to   make    a    false    statement     on        a   registrat i o n

15    application.

16             (b)     An     offense   under      this     section     is    a       Class     A     [~]

17    misdemeanor, except that an offense under this section is a state

18     jail felony if the person:

19                     (1)     directly     or     through    a   third      party          offers     or

20    provides compensation or other benefit to a person for activity

21    described by Subsection (a); or

22                     ( 2)    solicits,        receives,    or   accepts     compensation             or

23    other benefit for an activity described by Subsection (a).

24             ( c)    If     conduct   that      constitutes      an   offense         under        t his

25     section also constitutes an offense under another law, the ac t o r

26    may be prosecuted under this section, the other law, or both . [ ~
27    purposes of this oode, an offense under this seotion is oonsidere d



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     Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 7 of 77




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 2            SECTION 2.03.                Section 15.021, Election Code, is amended by
 3    amending Subsections (b) and (d) and adding Subsections (d-1) a nd
 4     (d-2) to read as follows:
 5            (b)         Except as provided by Subsection (d), the [ ~ ] vote r
 6    shall       use      the       registration       certificate          or    a    registrati on
 7    application form as the notice, indicating the correct informati on
 8    in the appropriate space on the certificate or application fo rm
 9    unless the voter does not have possession of the certificate or an
10    application form at the time of giving the notice.
11            (d)         A voter [whe eentinues te resiee in the eeuntJ7 in uhi eh

12    the ueter is re'3"isteree] may correct information under this secti on

13    by    digital        transmission          of    the     information        under    a   program
14    administered by                the    secretary   of     state   and    the      Department      of
15    Information Resources.
16            (d-1)         If the notice indicates that a voter no longer reside s
17    in the county in which the voter is registered, the registrar sha ll
18    forward the notice and the voter's application for registration to
19    the   registrar           of    the    county in which the voter                 resides.       Th e
20    registrars shall coordinate to ensure that the voter's exist ing
21    registration is canceled immediately after the voter is registere d
22    in    the     county       in which       the    voter    resides      in    accordance       with
23    Subsection (d-2).
24                (d-2)     A    registrar       who    receives       a   voter's        notice      a nd
25    application from another registrar under Subsection                                 (d-1)    s h a ll
26    treat i t as an original application for registration under Sect ion
27    13.002, and shall register the voter if the voter resides in t he



                                                        6
     Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 8 of 77




                                                                                        S.B. No. 1
 1    county and is otherwise eligible under Section 13. 001.
 2           SECTION 2.04.             Section 15.028, Election Code, is amended to
 3    read as follows:
 4           Sec. 15.028.             NOTICE OF UNLAWFUL VOTING OR REGISTRATION[~
 5    PROSECUTOR].           [+a+]    If the registrar determines that a person wh o
 6    is not eligible to vote registered to vote or [a re~isterea uoter ]
 7    voted in an election, the registrar shall, within 72 hours n ot
 8    including weekends after making the determination,                           execute an d
 9    deliver to the attorney general, the secretary of state, and the
10    county or district attorney having jurisdiction in the territo ry
11    covered by the election an affidavit stating the relevant facts.
12           [ (s)      If    tRe     eleetioR      eouers    territory      iR FRore    tRaR      oR e
13    eouRty,   tFJ.e    re~istrar        sFJ.all   also     aeliver    aR   affiaauit        to   tR e

14    attorHey ~eReral]

15           SECTION          2.05.      Section 16.0332, Election Code, is amende d
16    by amending Subsection (a) and adding Subsections (a-1),                            (d) , a nd
17     ( e) to read as fallows:
18           (a)     After       the     registrar        receives     notification      [a    list ]

19    under Subsection           (a-1)    of this section,           Section 18.068 of t his
20    codeL or Section 62.113, Government Code, of persons excused or
21    disqualified from jury service because of citizenship status or
22    notification of persons who indicate a lack of citizenship stat us
23     in connection with a motor vehicle or Department of Public Safe ty
24     record as provided by Subsection ( a-1) , the registrar shall delive r
25    to each registered voter whose name appears on the list a wri t te n
26    notice requiring the voter to submit to the registrar proof of
27    United States citizenship in the form of a certified copy of the



                                                      1
     Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 9 of 77




                                                                                      S.B. No. 1
 1    voter's birth certificate, United States passport, or certificat e
 2    of naturalization or any other form prescribed by the secretary of
 3    state.     The notice shall be delivered by forwardable mail to the
 4    mailing address on the voter's registration application and to any
 5    new address of the voter known to the registrar.
 6             (a-1)        The secretary of state shall enter into an agreement
 7    wi th the Department of Public Safety under which information in the
 8    existing       statewide           computerized       voter    registration       list    is
 9    compared against information in the database of the Department of
10    Public    Safety        on     a   monthly    basis     to    verify   the    accuracy    of
11    citizenship           status       information       previously    provided      on    vot er
12    registration applications.                   In comparing information under thi s
13    subsection, the secretary of state shall consider only a voter 's
14    information in the database of the Department of Public Safety th at
15    was der i ved from documents presented by the voter to the department
16    after the person's current voter registration became effective, an d
17    may not consider information derived from documents presented by
18    the voter        to    the   department before          the    person's      current   vot er
19    registration became effective.
20             (d)     The secretary of state shall prescribe rules for t he
21    administration of this sect ion.
22             (e)     Not later than December 31 of each year, the secretary
23    of state shall provide a report to the legislature of the number of
24    voter registrations canceled under this section during the calend ar

25    ~

26             SECTION 2.06.             Section 18.065, Election Code, is amended by
27    adding Subsections (e), (f), (g), (h), and (i) to read as follows :



                                                       8
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 10 of 77




                                                                                  S. B. No.        1

 1          ( e)   If     the     secretary    of       state   determines    that   a    voter
 2   registrar     is     not   in substantial           compliance with a       requirement
 3   imposed   on the       registrar       by a       provision or    rule     described        in
 4   Subsection (a), the secretary of state shall:
 5                  (1)     for the first violation, require the registrar to
 6   attend a training course under Subsection (h);
 7                  (2)     for     the     second        violation,    audit     the     vote r
 8   registration list for the county in which the registrar serves to
 9   determine the actions needed to achieve substantial complian ce
10   under Subsection (a) and provide the results of the audit to th e
11   registrar; or
12                  (3)     for    a   third      or     subsequent    violation,        if    the
13   secretary of state determines that the registrar has not perfo r me d
14   any overt     actions        in pursuance          of compliance with the          act i ons
15   identified under Subdivision (2) as necessary for the registrar to
16   achieve substantial compliance under Subsection (a) within 14 days

17   of   receiving       the     results    of     the    audit   conducted     under        th a t
18   subsection, inform the attorney general that the county which the
19   registrar serves may be subject to a civil penalty under Subsect ion

20   ~

21          (f)    A county is liable to this state for a civil penalty of
22   $1,000 for each day after the 14th day following the receipt of th e
23   results of the audit conducted under Subsection (e)(2)                          that the
24   county's voter registrar fails to take overt action to comply with
25   the actions identified under that subsection as necessary fo r the
26   registrar to achieve substantial compliance under Subsectio n ( a ).
27   The attorney general may bring an action to recover a civil pe n a lty



                                                    9
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 11 of 77




                                                                                      S.B. No . 1

 1   imposed under this section.

 2          (g)       A   civil penalty collected by the attorney general unde r

 3   this section shall be deposited in the state treasury to the cred it

 4   of the general revenue fund.

 5          (h)       The secretary of state shall develop and implemen t                       a

 6   training      course     for    reqistrars     on   substantial      compliance         with

 7   Sections 15. 083, 16. 032, and 18. 061 and with rules implementing the

 8   statewide computerized voter registration list.

 9          (i)       The secretary of state shall adopt rules and prescr ibe

10   procedures for the implementation of this section.

11          SECTION 2.07.            Section 18.068, Election Code, is amended by

12   amending Subsection             (a)   and adding Subsection         (a-1)     to    read as

13   follows:

14          ( a)      The    secretary      of   state   shall   quarterly        compar e    the

15   information received under Section 16. 001 of this code and Sec ti o ns

16   [ eeetion]    62 .113     and 62 .114,      Government      Code,   to     the    stat e wide

17   computerized voter registration list.                 If the secretary dete rmines

18   that   a voter         on the    registration list       is deceased or h as been

19   excused or disqualified from jury service because the voter i s n o t a

20   citizen or a resident of the county in which the voter i s reg is t ered

21   to vote,      the      secretary shall       send notice      of    the    determination

22   to the voter registrar of the counties considered approp r iate by

23   the secretary.

24           (a- 1)       The secretary of state is not required to send n o tice

25   under Subsection ( a) for a voter who is subject to an exemptio n from

26   jury   service         under    Section     62.106,   Government          Code,    if   that

27   exempt i on is the only reason the voter is excused from jury s ervice.



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 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 12 of 77




                                                                                           S.B. No . 1
 1            SECTION 2.08.          Section 31.006, Election Code, is amended to
 2   read as follows:
 3            Sec. 31.006.       REFERRAL [OF COMPLPINT] TO ATTORNEY GENERAL.
 4   (a)    If, after receiving or discovering information indicating t hat
 5   [a complaint          alle~in~]    criminal          conduct    in connection with an
 6   election has occurred, the secretary of state determines that th ere
 7   is reasonable cause to suspect that [the alle~ed] criminal conduct
 8   occurred,      the     secretary        shall    promptly       refer        the     informat i on
 9   [complaint] to the attorney general.                     The secretary shall de liver
10   to the attorney general all pertinent documents and informatio n in
11   the secre t ary's possession.
12            (b)    The      documents        and        information        submitted            u n de r
13   Subsection ( a) are not considered public information until:
14                   (1)     the secretary of state makes a determinatio n that
15   the    information         [complaint]          received        does     not        warrant       an
16   investigation; or

17                   (2)     if referred to the attorney general, the atto rney
18   general has completed the investigation or has made a determina tion
19   that    the    information        [complaint]         referred does          not wa r rant        an
20   investigation .
21            SECTION 2.09.          Subchapter B, Chapter 87, Election Code , is
22   amended by adding Section 87. 028 to read as follows:
23            Sec. 87. 028.      ACCESS       TO     INFORMATION.           (a)    On      request ,     a
24   county e l ection official shall provide to a member of an ea rly
25   voting     ballot       board     all    available        information              necessa r y    to
26   fulfilling the functions of the board, including any informat ion
27   from    the    statewide     computerized voter                registration           list   un der



                                                     11
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 13 of 77




                                                                                   S. B. No. 1

 1   Section 18. 061.

 2          (b)     On request, a county election official shall provide to

 3   a   member     of   a    signature    verification          committee   all    availab le

 4   informat ion necessary to fulfilling the functions of the committee ,

 5   including any information from the statewide computerized vote r

 6   registration list under Section 18.061.

 7           ( c)    The secretary of state shall adopt rules as necessary to

 8   prevent      a member      of   an early voting ballot board or                signatur e

 9   verification           committee    from   retaining         or   sharing     persona lly

10   identifiable        information from the          statewide       computerized vot er

11   registration list under Section 18.061 obtained under this sect ion

12   for any reason unrelated to the official's official duties.

13          SECTION 2. 10.           Sect ion   62. 113 ( b) ,     Government      Code,    is

14   amended to read as follows:

15           (b)     On the third business day of each month, the clerk sha ll

16   send a copy of the list of persons excused or disqualified becau se

17   of citizenship in the previous month to:

18                   (1)      the voter registrar of the county;

19                   ( 2)     the secretary of state; and

20                   (3)      the county or district attorney[, as applioahle ,]

21   for an investigation of whether the person committed an offen se

22   under Section 13. 007, Election Code, or other law.

23          SECTION 2.11.            Sections 62.114(b) and (c), Government Cod e,

24   are amended to read as follows:
25           (b)     On the third business day of each month, the clerk sha ll

26   send [to the voter re~istrar of the eounty] a copy of the list of

27   persons excused or disqualified in the previous month because the



                                                 12
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 14 of 77




                                                                                      S. B. No. 1

 1   persons do not reside in the county to:

 2                      ( 1)    the voter registrar of the county; and

 3                      ( 2)    the seer etary of state.

 4          (c)     A list compiled under this section may not be used for a

 5   purpose other than a purpose described by Subsection (b) or Section

 6   15. 081 or 18. 068, Election Code.

 7                  ARTICLE 3.          CONDUCT AND SECURITY OF ELECTIONS

 8         SECTION 3.01.               Section 2.053(a), Election Code,               is amended

 9   to read as follows:

10          (a)     On receipt of the certification, the governing body of

11   the political subdivision by order or ordinance shall [ffl-a¥] declare

12   each unopposed candidate elected to the office.                          If no election is

13   to be held on election day by the political subdivision, a copy of

14   the order or ordinance shall be posted on election day at each

15   polling place used or that would have been used in the election.

16         SECTION 3.02.               Section 2.056(c), Election Code, is amended

17   to read as follows:

18          (c)     A certifying authority shall [ffl-a¥] declare a candidate

19   elected to an office of the state or county government if, were the

20   election held,             only   the    votes    cast    for    that   candidate    in   the

21   election for that off ice may be counted.

22         SECTION 3.03.               Sections 43.007(c)            and   (d),   Election Code ,

23   are amended to read as follows:

24          (c)     In conducting the program, the secretary of state shall

25   provide      for      an   audit    of    the    voting    system       equipment    [direst

26   reeerdirHJ eleetreFJ.ie uetiFlEJ UFJ.its] before and after the election ,

27   and during the election to the extent such an audit is practicable.



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 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 15 of 77




                                                                          S. B. No . 1

 1           (d)   The secretary of state shall select to participate in
 2   the program each county that:

 3                 ( 1)   has held a public hearing under Subsection ( b );
 4                 ( 2)   has    submitted    documentation    listing    the   s teps

 5   taken   to    solicit      input   on   participating    in   the   progr a m   by
 6   organizations or persons who represent the interests of vote rs;

 7                 (3)    has implemented a computerized voter regist ration
 8   list that allows an election officer at the polling place to verify
 9   that a voter has not previously voted in the election;

10                 (4)    uses direct recording electronic voting ma chinesL

11   ballot ma r king devices, or hand-marked scannable paper ballots that

12   are printed and scanned at the polling place or any other typ e of
13   voting system equipment that the secretary of state determ ines is
14   capable of processing votes for each type of ballot to be vo t e d in
15   the county; and
16                 (5)    is determined by the secretary of state to hav e the

17   appropriate technological capabilities.

18           SECTION 3.04.       Section 43.031(b), Election Code, i s a me nded
19   to read as follows:
20           (b)   Each polling place shall be located inside a bu ilding.
21   No voter may cast a vote from inside a motor vehicle unless the
22   voter meets the requirements of Sect ion 64. 009.
23           SECTION 3.05.       Section 52.092(a), Election Code, is a mended

24   to read as follows:
25           (a)   Except as provided by Section 2.053(c) or 2.056 ( e ), for
26   [ ~ ] an election at which offices regularly filled at th e general
27   election for state and county officers are to appear on the b a llot,



                                              14
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 16 of 77




                                                                           S. B . No. 1
 1   the off ices shall be listed in the following order:
 2                 ( 1)   off ices of the federal government;

 3                 ( 2)   off ices of the state government:
 4                        (A)    statewide off ices;
 5                        (B)    district offices;
 6                 ( 3)   off ices of the county government:
 7                        (A)    county off ices;
 8                        (B)    precinct offices.
 9          SECTION 3.06.        Section 61.002, Election Code, is amende d to
10   read as follows:
11          Sec. 61.002.        OPENING AND CLOSING POLLING PLACE FOR VOTI NG.
12   (a)   Immediately before opening the polls for voting on the f irst
13   day of early voting and on election day, the presiding e l ec tion
14   judge or alternate election judge shall confirm that each v o ting
15   machine has any public counter reset to zero and shall print                      the
16   tape that shows the counter was set to zero for each candidat e or
17   measure on the ballot.
18          ill    At the official time for opening the polls for v o ting,
19   an election officer shall open the polling place entrance and a dmit
20   the voters.
21          ( c)   Immediately     after   closing     the   polls   for   vot i n g    on
22   election day, the presiding election judge or alternate ele ction
23   judge shall pr int the tape to show the number of votes cast for each
24   candidate or ballot measure for each voting machine.
25          (d)    Each election judge or alternate election judge p resent
26   shall sign a tape printed under this sect ion.
27          SECTION 3.07.        Section 64.007(c), Election Code, is a mended



                                            15
        Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 17 of 77




                                                                                S .B. No. 1
       1   to read as follows:
       2           ( c)   An election officer shall maintain a register of spo i led
       3   ballots at the polling place.          An election officer shall enter o n
       4   the register the name of each voter who returns a spoiled ballot a nd
       5   the spoiled ballot's number.       The secretary of state shall creat e
       6   and promulgate a form to be used for this purpose.
       7           SECTION 3.08.     Subchapter A, Chapter 66, Election Code, is
       8   amended by adding Section 66. 004 to read as follows:
       9           Sec. 66.004.     POLLING PLACE CHECKLISTS.           The secretary o f
      10   state   shall    adopt   rules   and    create    a   checklist     or     similar
      11   guidelines to assist the presiding judge of a polling place i n
      12   processing forms and conducting procedures required by this code at
      13   the opening and closing of the polling place.
      14           SECTION 3.09.     Section 85.005, Election Code, is amended to
      15   read as follows:
      16           Sec. 85.005.     REGULAR DAYS AND HOURS FOR VOTING.          (a)    Ex cept

      17   as provided by Subsection (c), in an election in which a county
      18   clerk [er oity oeoretary] is the early voting clerk under Sec ti o n
      19   83. 002 [ er 93. 005] , early voting by personal appearance at the ma in
      20   early voting polling place shall be conducted on each weekday o f
      21   [the weekdays sf] the early voting period that is not a legal state
      22   holiday and for a period of at least nine hours, except that voting
      23   may not be conducted earlier than 6 a.m.              or later than 10 p .m.
      24   [during the hsuro that the osunty olerk'o er oity oeoretary'o raa in
      25   huoiness offioe io regularly spen fer husineoo.]
_ _ __2_6_ __ _ _ (_b_) __I _n_ a_n election to which Subsection (a) does not app ly,
      27   early voting by personal         appearance      at   the   main   early vo ting



                                                  16
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 18 of 77




                                                                                        S. B. No .    1

 1   polling place shall be conducted at least nine [ ~ ] hours each
 2   weekday of the early voting period that is not a legal state h ol iday
 3   unless the territory covered by the election has fewer than 1,000
 4   registered voters.                In that case, the voting shall be condu ct e d at
 5   least four      [-t-J:H..e..e.]   hours each day.            The authority ordering the
 6   election, or the county clerk if that person is the ear l y voting

 7   clerk, shall determine which hours the voting is to be conducte d.
 8           (c)    In a county with a population of 55,000                         [100,00 0]       or

 9   more, the voting in a primary election or the general elect ion for
10   state and county officers shall be conducted at the main early
11   voting polling place for at least 12 hours on each weekday of the

12   last week of the early voting period, and the voting in a special
13   e l ection ordered by the governor shall be conducted at th e main
14   early voting polling place for at least 12 hours on each of the last

15   two days of the early voting period.                        Voting under this subs ection
16   may not be conducted earlier than 6 a.m.                           or later t han 10 p.m.

17   Voting shall be conducted in accordance with this subsect ion in
18   those   elections            in        a    county   with    a   population   under      55,000
19   [100,000] on rece i pt by the early voting clerk of a written request
20   for the extended hours submitted by at least 15 registered v o t e rs of

21   the   county.         The         request must        be    submitted    in time   to    e n able
22   compliance with Section 85. 067.
23           (d)    A voter who has not voted before the scheduled time for

24   closing a polling place is entitled to vote after that time if the
25   voter   is    in    line          at       the   polling place    by    closing time .       The
26   secretary of state shall promulgate any materials and pro v i de any
27   training to presiding judges necessary to properly proces s voters



                                                          17
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 19 of 77




                                                                                                        S. B. No. 1

 1   under    this subsection                   [In an eleetion oreeree                  "13 1r   a   eity,     early

 2   voting    "13 1r   f)Oroonal af)f)Oaranee at the main early voting f)Olling

 3   f)laee shall so eona.1:ietee for at least 12 ho1:ir •.

 4                       [ ( 1)        on    one    weekeay,      if     the        early         voting      f)Orioe

 5   eonoioto of less than oiJE veekeayo, or

 6                       [ (2)         on    t'rn   weekeayo,       if       the    early         uoting      f)Orioe

 7   eonoioto of oiJE or more weekeayo] .

 8            SECTION 3.10.                  Sections 85.006(b)               and    (e),         Election Code,

 9   are amended to read as follows:

10            (b)        In       an    election        in   which       a    county         clerk       [or       eity

11   oeeretary]          is       the       early voting clerk under                 Section 83.002                   [-e+

12   g~. 00§] , only the early voting clerk may order voting on a Saturday

13   or Sunday.          The clerk must do so by written order.

14            (e)        In a primary election or the general election for state

15   and     county       officers            in    a   county    with        a    population           of     55,000

16   [100,000]          or more, the early voting clerk shall order voting by

17   personal appearance [voting] at the main early voting polling place

18   to be conducted on the last Saturday of the early voting period for

19   at least 12 hours, except that voting may not be conducted earlier

20   than 6 a.m. or later than 10 p.m., [on the last £at1:ireay] and on the

21   last Sunday of the early voting period for                                     at    least six            [;f..i..v.e.]

22   hours, except that voting may not be conducted earlier than 9 a.m.

23   or    later        than      10 p .m       [ on the     last    £1:ineay of         the          early voting

24   f)Orioe].          The early voting clerk shall order voting to be conducted

25   at those times in those elections in a county with a population

26   under 55,000 [100,000]                     on receipt of a written request for those

27   hours submitted by at least 15 registered voters of the county.                                                 The



                                                             18
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 20 of 77




                                                                                    S.B. No . 1
 1   request must be submitted in time to enable compliance with Sect ion
 2   85.007.        This   subsection       supersedes       any   provision          of     this
 3   sub chap t er to the extent of any conflict.
 4          SECTION 3 .11.        Section     85. 010 ( a-1),      Election          Code,     is
 5   amended to read as follows:
 6          (a-1)     In   this    section,     "eligible       county    polling pl ace"
 7   means an early voting polling place[, ether than a ~ellin~ ~la ee
 8   established B:nder £eetien 9§. Oe2 ( e),] established by a county.

 9          SECTION 3.12.         Section 85.061(a), Election Code, is ame nded
10   to read as follows:
11          (a)     In a countywide election in which the county cler k is
12   the   early voting      clerk under        Section 83. 002,         an    early vo ting
13   polling place shall be located inside [-a-t-] each branch offic e that
14   is regularly maintained for conducting general clerical funct i ons
15   of the county clerk, except as provided by Subsection (b ) .                            If a
16   suitable room is unavailable inside the branch office, the pol ling
17   place may be located in another room inside the same building as the
18   branch office.
19          SECTION 3.13.         Section 85.062, Election Code, is amende d by
20   amending Subsection          (b)   and adding Subsection         (f-1)         to read as
21   follows:
22          (b)     A polling place established under this section may be

23   located, subject to Subsection (d), at any place in the ter ritory
24   served by the early voting clerk and may be located inside [-i-fi.] any
25   building     [ stat ienary     strB:GtB:r e]    as   directed   by       the    autho rity
26   establishing the branch off ice.                The polling place may no t                be
27   located in a movable structure in the general election for stat e and



                                                19
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 21 of 77




                                                                               S. B. No. 1
 1   county    officers,      general   primary     election,     or     runoff   primary
 2   election.        Ropes or other suitable objects may be used at the
 3   polling place to ensure compliance with Section 62.004.                      Perso n s
 4   who are not expressly permitted by law to be in a polling place
 5   shall be excluded from the polling place to the extent practicab l e .
 6            (f-1)      Notwithstanding any other provision of this sec ti on
 7   concerning the location of temporary branch polling places, i n a n
 8   election       in   which   countywide    polling     places        are   used,   the
 9   commissioners court of a county shall employ the same methodolo gy
10   it uses to determine the location of countywide polling places to
11   determine the location of temporary branch polling places.
12            SECTION 3.14.      Section 87.002, Election Code, is amended to
13   read as follows:
14            Sec. 87.002.       COMPOSITION OF BOARD.          (a)    The early vo t in g
15   ballot board consists of a presiding judge, an alternate presiding
16   judge, and at least one [ ~ ] other member [FAeHtl3ers].
17            (b)     Except as provided by Subsection            (d),    the presid ing
18   judge and the alternate presiding judge are [-ie-] appointed in t he
19   same manner as a presiding election judge and alternate pres i d ing
20   election judge, respectively.            Except as provided by Subsec tion
21   (c),   each [ ~ ]      other member is        [members are]       appointed b y t h e
22   presiding judge in the same manner as the precinct election clerks .
23            (c)     In the general election for state and county office rs,
24   each county chair of a political party with nominees on the gene ral
25   election ballot shall submit to the county election board a lis t o f
26   names of persons eligible to serve on the early voting ballot board
27   in order of the county chair's preference.                  The county elect i on



                                              20
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 22 of 77




                                                                                       S. B. No. 1

 1   board shall appoint at least one person from each list to serve as a

 2   member of the early voting ballot board.                     The same number of members

 3   must be appointed from each list.                    The county election board s hall

 4   appoint persons as members of the early voting ballot board in the

 5   order of preference indicated on each list.

 6          (d)     In addition to the members appointed under Sub s e ction

 7   ( c), the county election board shall appoint as the presiding judge

 8   the highest-ranked person on [H-effi]                     t he list provided unde r that

 9   subsection     by    the    pol i tical    party          whose    nominee    for    g overnor

10   received      the   most     votes    in       the        county   in   the   most        r e cent

11   gubernatorial general election and as the alternate presidi ng judge

12   the   highest-ranked         person       on        the    list    provided      unde r      that

13   subsection     by    the    political      party          whose    nominee    for    g ov e rnor

14   received the second most votes in the county in the mo s t                                r e cent

15   gubernatorial general election.

16          SECTION 3.15.         Section 124.002, Election Code, is ame nded by

17   adding Subsection ( c) to read as follows:

18          (c)     Voting system ballots may not be arranged in a manner

19   that allows a political party's candidates to be selected in one

20   motion or gesture.

21          SECTION 3.16.         Sections 127.006(a) and (c), Electio n Code,

22   are amended to read as follows:

23          (a)     The [~etR tRe] managerL [-eJ:M] the presiding jud ge, and

24   the alternate presiding judge may appoint clerks to serve at the

25   central counting station.

26          ( c)    A    clerk   appointed          by    the    manager     serves      un der    the

27   manager and shall perform the functions directed by the manager.                                 A
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 23 of 77




                                                                                 S.B. No.     1
 1   clerk appointed by the presiding judge or the alternate presiding
2    judge    serves       under    the   presiding   judge    and    shall perform the
 3   functions directed by the presiding judge.
4            SECTION 3.17.          Subchapter A, Chapter 127, Election Code, is
 5   amended by adding Section 127. 009 to read as fallows:
 6           Sec. 127.009.          ELECTRONIC     DEVICES      IN     CENTRAL     COUNTI NG
 7   STATION.       ( a)   A counting station manager and the presiding judge o f
 8   the   counting station shall develop                 a protocol under which a ny
 9   electronic        device      inside   a   central    counting     station    that     is
10   necessary to count votes is equipped with software that tracks a ll
11   input and activity on the electronic device.
12           (b)      The counting station manager and the presiding judge o f
13   the   counting station shall ensure              that     the    input   and act i v ity
14   tracked by the software is delivered to the secretary of state n o t
15   later than the fifth day after vote counting is complete.
16            (c)     This section applies only to a central counting stat i on
17   located in a county with a population of 250,000 or more.
18           SECTION 3.18.          Section 127.1232, Election Code, is amend ed
19   to read as follows:
20           Sec. 127.1232.          SECURITY OF VOTED BALLOTS.          ill The gene ral
21   custodian of election records shall post a licensed peace offi c e r
22   [~]        to ensure the security of ballot boxes containing vote d
23   ballots throughout the period of tabulation at the central counting
24   station.
25            (b)     The general custodian of election records in a county
26   with a     population of         100,000 or more         shall    implement    a   v i de o
27   surveillance system that retains a record of all areas containing
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 24 of 77




                                                                               S. B. No . 1
 1   voted ballots:
 2               (1)        from the time the voted ballots are delivered to

 3   the central counting station until the canvass of precinct elec ti on
 4   returns; and

 5                  (2)     from the time the voted ballots are delivered to
 6   the signature verification committee or early voting ballot board

 7   until the canvass of precinct election returns.
 8         (c)   A video from a system implemented under Subsection (b)
 9   shall be made available to the public by a livestream.
10         (d)   The video recorded is an election record under Sect ion

11   1.012 and shall be retained by the general custodian of elect ion
12   records until the end of the calendar year in which an election is

13   held or until an election contest filed in the county has be en
14   resolved, whichever is later.

15         SECTION         3.19.     Chapter   127,   Election   Code,    as    effect ive
16   September 1, 2021,            is amended by adding Subchapter J to read as

17   follows:
18                           SUBCHAPTER J.     RANDOMIZED AUDITS
19         Sec. 127.351.            RANDOMIZED COUNTY AUDITS.       (a)    Immediat e ly
20   after the uniform election date in November of an even-numbe red
21   year, the secretary of state shall conduct an audit of the elect ions
22   held in four counties during the previous two years.
23         (b)   The secretary of state shall select the count i es to be

24   audited under Subsection ( a) at random, except that:
25                  ( 1)    two of the counties selected must have a                 to tal
26   population of less than 300,000;
27                  ( 2)    two of the counties selected must have a                 to tal
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 25 of 77




                                                                             S. B. No. 1
 1   population of 300,000 or more; and
 2                   (3)   a county selected in the most recent audit cyc l e
 3   may not be selected in the current audit cycle.
 4          (c)   A county selected to be audited may not pay the cost o f
 5   performing an audit under this section.
 6          (d)   The secretary of state shall adopt rules as necessa r y to
 7   implement this section.
 8                   ARTICLE 4.    ELECTION OFFICERS AND OBSERVERS
 9          SECTION 4.01.         Section 32.075, Election Code, is amende d by
10   adding Subsections (g) and (h) to read as follows:
11          (g)   A presiding judge may not have a watcher duly accept ed
12   for   service     under   Subchapter   A,    Chapter   33,    removed    from   t he
13   polling place for violating a provision of this code or any other
14   provision of law relating to the conduct of elections, other t h a n a
15   violation of the Penal Code, unless the violation was observed by an
16   election judge or clerk.
17          (h)   Notwithstanding Subsection (g), a presiding judge may
18   call a law enforcement officer to request that a poll watc h e r be
19   removed if the poll watcher commits a breach of the peace o r                      a
20   violation of law.
21          SECTION 4.02.         Subchapter A, Chapter 33, Election Code , is
22   amended by adding Section 33. 0015 to read as follows:
23          Sec. 33.0015.         CHAPTER   PURPOSE   AND   WATCHER      DUTY.       The
24   purpose of this chapter is to preserve the integrity of the ba llot
25   box in accordance with Section 4, Article VI, Texas Constit ut i on,
26   by providing for the appointment of watchers.                It is the i nt e nt of
27   the legislature that watchers duly accepted for service under this



                                             24
     Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 26 of 77




                                                                            S. B. No. 1

 1    chapter be allowed to observe and report on irregularities in t he

 2    conduct   of   any election,       but may not     interfere   in the    order ly

 3    conduct of an elect ion.        To effect that purpose, a watcher appointe d

 4    under this chapter shall observe without obstructing the conduct o f

 5    an election and call to the attention of an election officer a ny

 6    observed or     suspected       irregularity or    violation of   law        in the

 7    conduct of the elect ion.

 8          SECTION 4.03.           Subchapter A, Chapter 33, Election Code , is

 9    amended by adding Section 33. 0016 to read as follows:

10          Sec. 33.0016.          REFERENCES TO EARLY VOTING BALLOT BOARD IN

11    THIS CHAPTER.        A reference in this chapter to an early voting bal lot

12    board includes a signature verification committee.

13          SECTION 4.04.           Subchapter A, Chapter 33, Election Code, is

14    amended by adding Section 33. 008 to read as follows:

15          Sec. 33. 008.          TRAINING   PROGRAM.    The   secretary     of    s t a te

16    shall develop and maintain a training program for watchers.                      The

17    training program must:

18                   (1)     be available:

19                           (A)    entirely via the Internet; and

20                           (B)    at any time, without a requirement for p rior

21    registration; and

22                   (2)     provide a watcher who completes the training with

23    a certificate of completion.

24          SECTION 4.05.           Section 33.031, Election Code, is amended by

25    adding Subsection (b) to read as follows:

26           (b)     In addition to the requirements of Subsection (a) , to be

27    eligible to serve as a watcher,            a person must complete training



                                               25
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 27 of 77




                                                                                                                   S.B. No . 1

 1   under Section 33.008.

 2            SECTION 4.06.                       Section 33.051, Election Code, is amended b y

 3   amending Subsections (a), (b), (d), and (e) and adding Subsections

 4   (a-1), (g), and (h) to read as follows:

 5            ( a)        A   watcher             appointed          to    serve        at     a    precinct          polling

 6   place,    a meeting place for                             an early voting ballot board,                               or    a

 7   central counting station must deliver the following materials [a

 8   eertifieate of appointment] to the presiding judge at the time t he

 9   watcher reports for service:

10                        ( 1)         a certificate of appointment; and

11                        (2)          a     certificate             of        completion                from        training

12   completed by the watcher under Section 33. 008.

13            (a-1)           A     watcher            appointed          to    serve         at        an    early    vo ting

14   polling place must deliver the certificates under Subsection ( a ) [a

15   eertifieate of appointment]                               to the early voting clerk or depu ty

16   clerk in charge of the polling place when the watcher first repo rts

17   for service.

18            (b)         The       officer            presented with               a   watcher's             certificat es

19   [eertifieate                 of        appointment]             shall          require             the     watcher         to

20   countersign              the          certificate         of    appointment              to        ensure      that    the

21   watcher         is       the          same        person       who        signed         the        certificate            of

22   appointment.                 Except as provided by Subsection (c), a watcher who

23   presents         himself                or     herself          at    the          proper           time       with    the

24   certificates              required                under    Subsection              (a)        [a    eertifieate            of
25   appointment]             shall be accepted for                        service unless the person is

26   ineligible           to       serve          or    the    number          of   appointees                to   which    the

27   appointing authority is entitled have already been accepted.



                                                                    26
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 28 of 77




                                                                              S. B. No. 1
 1          (d)    The certificates [eertifieate] of a watcher serving a t

 2   an early voting polling place shall be retained at the polling place

 3   until voting at the polling place is concluded.               At each subsequent

 4   time that the watcher reports for service, the watcher shall info rm

 5   the clerk or deputy in charge.            The officer may require the watche r

 6   to sign the watcher's name in the officer's presence, for compar i so n

 7   with   the    signature   on   the    certificate     of    appointment,     if      the
 8   officer is uncertain of the watcher's identity.

 9          (e)     If   a   watcher      is   not    accepted     for    service,        the

10   certificates [eertifieate sf appeintment] shall be returned to th e

11   watcher with a signed statement of the reason for the rejection .
12          (g)     An election officer commits an offense if the off i c er

13   intentionally or knowingly refuses to accept a watcher for servic e

14   when acceptance of the watcher is required by this section.                           An

15   offense under this subsection is a Class A misdemeanor.
16          (h)     Before accepting a watcher, the officer presented wi th a

17   watcher's certificate of appointment shall require the watche r to

18   take the following oath, administered by the officer: "I swear (or

19   affirm) that I will not disrupt the voting process or harass vote rs
20   in the discharge of my duties."

21          SECTION 4.07.       Section 33.056, Election Code, is amende d by
22   amending Subsection (a) and adding Subsections (e) and (f) to r e ad
23   as follows:

24           (a)    Except   as provided by          Section    33.057,   a   watche r      is
25   entitled to observe any activity conducted at the location at which

26   the watcher is serving.           A watcher is entitled to sit o r                s t a nd

27   [eenueniently]      near enough to see and hear the election of fi ce rs
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 29 of 77




                                                                   S. B. No. 1
 1   conducting the observed activity, except as otherwise prohibited by
 2   this chapter.
 3         (e)     Except as provided by Section 33.057(b), a watcher may
 4   not be denied free movement where election activity is occurring
 5   within the location at which the watcher is serving.
 6         ( f)     In this code, a watcher who is entitled to "observe" an
 7   election activity is entitled to sit or stand near enough to see an d
 8   hear the activity.
 9         SECTION 4.08.       Subchapter C, Chapter 33, Election Code, is
10   amended by adding Section 33. 0605 to read as fallows:
11         Sec. 33.0605.       OBSERVING DATA STORAGE SEALING AND TRANSFER .
12   (a) A watcher appointed to serve at a polling place in an electio n
13   who is available at the time of the action may observe all e l ectio n
14   activities relating to closing the polling place,          including t he
15   sealing and transfer of a memory card, flash drive, hard drive, data
16   storage device, or other medium now existing or later develope d
17   used by the voting system equipment.
18         (b)      Notwithstanding any other provision of this        code,   a
19   watcher duly accepted for service at a polling location is entitle d
20   to follow the transfer of election materials from the polling place
21   at which the watcher was accepted to a regional tabulating cente r,
22   the central counting station, or any other location designated to
23   process      election   materials.    The   authority   responsible    fo r
24   administering a     regional tabulating center     or   another   locati on
25   where election materials are processed must accept duly appoint e d
26   watchers for service in the same manner a watcher is accepted f or
27   service under Section 33.051 and must accept the same number of
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 30 of 77




                                                                                   S.B. No.       1

 1   watchers that may serve under Section 33. 007 (a).
 2         SECTION 4.09.           Section 33.061(a), Election Code, is amende d
 3   to read as follows:
 4         (a)    A person commits an offense if the person serves in a n
 5   official capacity at a location at which the presence of watchers is
 6   authorized   and knowingly prevents                 a   watcher    from     observing a n

 7   activity or procedure the person knows the watcher is entit l ed to

 8   observe, including by taking any action to obstruct the view of a

 9   watcher or distance the watcher from the activity or procedure to be
10   observed in a manner that would make observation not reasonab ly
11   effective.

12         SECTION 4.10.           Subchapter C, Chapter 33, Election Code , is
13   amended by adding Section 33. 063 to read as follows:
14         Sec. 33.063.           RELIEF.         The    appointing      authority       fo r     a
15   watcher who believes that the watcher was unlawfully prevented or
16   obstructed from the performance of the watcher's duties may seek :
17                (1)        injunctive       relief         under      Section        273.08 1,
18   including issuance of temporary orders;
19                (2)        a   writ   of   mandamus        under     Section    161.009        or
20   273.061; and

21                  ( 3)     any other remedy available under law.
22         SECTION 4.11.           Section 34.005, Election Code, is amended to
23   read as follows:
24         Sec. 34.005.           ACTION     BY   SECRETARY      OF    STATE.                   The
25   secretary of          state may refer        a     reported violation        of   law for
26   appropriate action to the attorney general, if the attorney gene ral
27   has jurisdiction, or to a prosecuting attorney having jurisdiction.



                                                  29
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 31 of 77




                                                                                           S.B. No . 1
 1           (b)     If        the    secretary      of     state    believes        that       a     state
 2   inspector       was        unlawfully         prevented        or    obstructed        from         the
 3   performance of the inspector's duties, the secretary of state may
 4   seek:
 5                   (1)        injunctive          relief        under          Section        273.08 1,
 6   including issuance of temporary orders;
 7                   (2)        a    writ     of   mandamus       under     Section        161.009        or
 8   273.061 ; and
 9                   ( 3)       any other remedy available under law.
10           SECTION 4.12.              Section 86.006, Election Code, is amended b y
11   amending Subsection                (a)   and adding Subsection               (a-2)    to read a s
12   follows:
13           ( a)    A marked           ballot     voted     under        this    chapter       must      be
14   returned       to     the       early    voting      clerk     in    the     official          car rier
15   envelope.           The     carrier      envelope      may     be     delivered       in       a n other
16   envelope and must be transported and delivered only by:
17                       (1)    mail;
18                       (2)     common or contract carrier; or
19                       (3)     subject      to   Subsections           [Suhseetion]       (a-1 )       a nd
20   ( a-2) , in-per son delivery by the voter who voted the ballot.
21           (a-2)        An in-person delivery of a marked ballot voted un der
22   this chapter must be received by an election official at the time o f
23   delivery.       The receiving official shall record the voter ' s name,
24   signature,          and     type    of    identification            provided    under          Sect ion
25   63.0101 on a roster prescribed by the secretary of state.                                           The
26   receiving official shall attest on the roster that the de l ive ry
27   complies with this section.



                                                       30
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 32 of 77




                                                                                                    S.B. No. 1
 1            SECTION 4.13.             Chapter      121,     Election Code,                 is     amended b y

 2   adding Section 121.004 to read as follows:

 3            Sec. 121. 004.            COMMUNICATIONS              WITH        VOTING       SYSTEMS      VENDOR

 4   PUBLIC INFORMATION.                 (a) Except as provided by Subsection (b ), a

 5   written        letter,       e-mail,       or     other         communication,                including    a

 6   communication made                confidential by other                      law,    between a       pub lic

 7   official and a voting systems vendor:

 8                    ( 1)       is not confidential;

 9                    ( 2)       is public information for purposes of Chapter 5 52,

10   Government Code; and

11                    (3)        is    not    subject       to      an      exception         to    disclosu re

12   provided by Chapter                 552,    Government            Code,         other    than      Sections

13   552 .110 and 552 .1101, Government Code.

14            (b)     A      written         letter,     e-mail,             or      other      communicat i o n

15   between a public official and a voting systems vendor is excep t e d

16   from     disclosure          under       Chapter        552,        Government           Code,      if   the

17   communication discloses information, data, or records relating to

18   the security of elections critical infrastructure.

19            SECTION 4.14.             Section 127.1301, Election Code, is ame nd e d

20   to read as follows:

21            Sec. 127 .1301.             ['±'ALLYING,           'l'.?'.B ULA 'l' HlG ,    Nm       REPOR'l'HlG]

22   CENTRALLY       COUNTED          OPTICAL     SCAN    BALLOTS              [BALLO'l'     U~lDERUQ'l'E£    AND

23   OVERVO'l'E£].        _Gu_        In an election using centrally counted opt ical

24   scan ballots, the undervotes and overvotes on those ballots s h a ll

25   be   tallied,        tabulated,           and     reported          by       race    and      by   elec tion

26   precinct       in the form and manner prescribed by the secretar y of

27   state.



                                                        31
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 33 of 77




                                                                               S. B . No . 1
 1            (b)     An authority operating a central counting station unde r
 2   this chapter may not purchase or use a centrally counted opt i c al
 3   ballot    scan     system    that     uses   a   data    storage   disc    on   wh ich
 4   information, once written, is capable of being modified.
 5            (c)     An authority that purchases system components in o r d er
 6   to comp l y with this section is eligible to have 100 percent of the
 7   cost of those system components reimbursed.
 8            (d)     Subsection (b) applies starting on the earlier of :
 9                    (1)    the date on which the state certifies the first
10   centrally counted optical ballot scan system under this sect i on; or
11                    (2)    September 1, 2026.
12            (e)     This subsection and Subsection (d)            expire Octob er 1,
13   2026.
14            SECTION 4.15.       Section 127.131, Election Code, is amende d by
15   adding Subsection ( f) to read as fallows:
16            (f)     The presiding judge of the             central counting station
17   shall provide and attest to a written reconciliation of vo t e s and
18   voters at the close of tabulation for election day and again a fter
19   the central counting station meets for the last time to p r o c e ss
20   late-arr i ving        ballots   by   mail   and   provisional     ballots.        The
21   secretary of state shall create and promulgate rules and a form to
22   facilitate compliance with this subsection.                   The form s hall be
23   posted on a website maintained by the county along wit h ele ction
24   returns and results.
25            SECTION 4.16.       Section 129.023, Election Code, i s ame nded by
26   adding Subsections (b-2) and (c-1) to read as follows:
27            (b-2)     If the test is being conducted for              an elect i on in
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 34 of 77




                                                                             S.B. No . 1

 1   which a county election board has been established under Sect i o n

 2   51. 002, the general custodian of election records shall notify each

 3   member of the board of the test at least 48 hours before the date o f

 4   the test.     If the county election board chooses to witness the te st,

 5   each member shall sign the statement required by Subsection ( e ) ( 1).

 6         (c-1)      A test conducted under this section must also requi re

 7   the general custodian of election records to demonstrate, usin g a

 8   representative sample of voting system equipment, that the sou rce

 9   code of the equipment has not been altered.

10                                ARTICLE 5.   VOTING BY MAIL

11         SECTION 5.01.           Section 84.00l(b), Election Code, is amend ed

12   to read as follows:

13          (b)     Subject to Section 1.011, an [AH-]           application mus t     be

14   submitted in writing and signed by the applicant using ink on pape r.

15   An electronic signature or photocopied signature is not permit te d.

16         SECTION 5.02.           Section 84.002, Election Code, as effec tive

17   September 1, 2021, is amended by amending Subsection (a) and add ing

18   Subsection (b-1) to read as follows:

19          ( a)    An early voting ballot application must include:

20                  (1)     the applicant's name and the address at which the

21   applicant is registered to vote;

22                  (1-a)     the following information:

23                          (A)    the   number     of    the   applicant's    drive r's

24   license,      election        identification        certificate,   or     pe r so nal

25   identification card issued by the Department of Public Safety ;

26                          (B)    if the applicant has not been issued a numb er

27   described by Paragraph (A), the last four digits of the applicant's



                                               33
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 35 of 77




                                                                                          S. B. No . 1

 1   social security number; or

 2                               (C)    a    statement      by     the        applicant    that    t he

 3   applicant has not been issued a number described by Paragraph (A ) or

 4   l!U.i.
 5                   ( 2)        for an application for a ballot to be voted by mail

 6   on the ground of absence from the county of residence, the addre ss

 7   outside the applicant's county of residence to which the ballo t is

 8   to be mailed;

 9                   ( 3)        for an application for a ballot to be voted by ma il

10   on the ground of age or disability, the address of the hosp it a l,

11   nursing    home        or    other      long-term     care     facility,       or    retirement

12   center, or of a person related to the applicant within the seco nd

13   degree     by   affinity           or   the   third    degree       by     consanguinity,      as

14   determined under Chapter 573, Government Code, if the applicant is

15   living at       that        address     and that      address       is    different    from the

16   address at which the applicant is registered to vote;

17                   ( 4)        for an application for a ballot to be voted by mail

18   on the ground of confinement in jail, the address of the jail o r o f a

19   person related to the applicant within the degree described by

20   Subdivision (3);

21                   ( 5)        for an application for a ballot to be voted by ma il

22   on   any   ground,          an    indication    of     each     election       for    which   the

23   applicant is applying for a ballot;

24                   (6)         an    indication of the          ground of        eligibility for

25   early voting; and

26                   ( 7)        for an application for a ballot to be voted by ma il

27   on the ground of involuntary civil commitment, the address of the



                                                     34
                                                                                                              :r._

 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 36 of 77




                                                                                             S.B. No. 1

 1   facility      operated       by       or    under    contract         with    the   Texas       Civi l

 2   Commitment Off ice or of a person related to the applicant within the

 3   degree of consanguinity described by Subdivision ( 3) .

 4           (b-1)     A person may use the number of a driver's license ,
 5   election identification certificate,                           or personal identificatio n

 6   card that has expired for the purpose of fulfilling the requirement

 7   under   Subsection          (a) ( 1-a)       if   the     license      or    identificat i on       is

 8   otherwise valid.

 9           SECTION 5.03.             Section          84.0ll(a),          Election         Code,       as

10   effective September 1, 2021, is amended to read as follows:

11           (a)     The officially prescribed application form for an ea rly

12   voting ballot must include:

13                   ( 1)    immediately              preceding      the     signature       space     th e

14   statement:       "I     certify            that     the    information          given     in     thi s

15   application is true, and I understand that giving false informati on

16   in this application is a er ime.";

17                   (2)     a     statement           informing       the        applicant     of     the

18   off ens es prescribed by Sections 84. 003 and 84. 004;

19                   ( 3)    spaces             for    entering        an        applicant's         vot er

20   registration number and county election precinct of registratio n,

21   with a statement informing the applicant that failure to furn i s h

22   that information does not invalidate the application;

23                   (3-a)       a space for            entering the information requir ed

24   under Section 84. 002 ( a) ( 1-a); and

25                   (4)     on an application for a ballot to be voted by ma il:

26                           (A)       a    space      for     an   applicant       applying     on    the

27   ground of absence from the county of residence to indicate the date



                                                         35
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 37 of 77




                                                                      S.B. No. 1

 1   on or after which the applicant can receive mail at the address
 2   outside the county;
 3                    (B)    a   space   for    indicating   the   fact   that   an
 4   applicant whose application is signed by a witness cannot make the
 5   applicant's mark and a space for          indicating the relationship o r
 6   lack of relationship of the witness to the applicant;
 7                    ( C)   a space for entering an applicant's telephone
 8   number, with a statement informing the applicant that failure to
 9   furnish that information does not invalidate the application;
10                    (D)    a space or box for an applicant applying o n
11   the ground of age or disability to indicate that the address t o
12   which the ballot is to be mailed is the address of a facility o r
13   relative described by Section 84.002(a) (3), if applicable;
14                    (E)    a space or box for an applicant applying on
15   the ground of confinement in jail or involuntary civil commitme nt
16   to indicate that the address to which the ballot is to be mailed i s
17   the address of a relative described by Section 84.002(a) (4) or (7 ),
18   if applicable;
19                    ( F)   a   space   for   an applicant    applying on t h e
20   ground of age or disability to indicate if the application i s an
21   application under Section 86. 0015;
22                    (G)    spaces for entering the signature, print ed
23   name, and residence address of any person assisting the applicant;
24                    (H)    a statement informing the applicant of the
25   condition prescribed by Section 81. 005; and
26                    (I)    a statement informing the applicant of t he
27   requirement prescribed by Section 86.003(c).



                                          36
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 38 of 77




                                                                         S.B. No. 1

 1          SECTION 5.04.       Subchapter A, Chapter 84, Election Code, is

 2   amended by adding Section 84. 0111 to read as follows:

 3          Sec. 84.0111.       DISTRIBUTION    OF    APPLICATION      FORM.     (a)

 4   Except as provided by Subsection (c) or as otherwise authorized by

 5   this code, an officer or employee of this state or of a politica l

 6   subdivision of this state may not distribute an application form

 7   for   an early voting ballot to a person who did not                request a n

 8   application under Section 84.001.

 9          (b)    An officer or employee of this state or of a politica l

10   subdivision of this state may not use public funds to facilitate t he

11   distribution by another person of an application form for an ear ly

12   voting ballot to a person who did not request an application unde r

13   Section 84.001.

14          (c)    A   political   party   or   a    candidate   for    office   may

15   distribute an application form for             an early voting ballot to a

16   person who did not request an application under Section 84. 001.

17          SECTION 5.05.       Section 84.032(c), Election Code, is amende d

18   to read as follows:

19           (c)   An applicant may submit a request after the close of

20   early voting by personal appearance by appearing in person and:

21                 (1)    returning the ballot to be voted by mail to t he
22   early voting clerk; or

23                 ( 2)   executing an affidavit that the applicant:

24                        (A)   has not received the ballot to be voted by
25   mail; [~]

26                        (B)   never requested a b a 11 o t to be voted by ma i 11.

27   or



                                           37
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 39 of 77




                                                                      S.B. No. 1
1                          (C)    received notice of a defect under Section
2    87.0271(b) or (c) or 87.0411(b) or (c).
 3         SECTION 5.06.         Section 84.035, Election Code, is amended to
4    read as follows:
 5         Sec. 84.035.          BALLOT SENT TO APPLICANT.   �   If the early
6    voting clerk cancels an application by an applicant to whom an early
7    voting ballot has been sent, the clerk shall:
 8                 (1)    remove the applicant's name from the early voting
9    roster; and
10                 (2)    make any other entries in the records and take any
11   other action necessary to prevent the ballot from being counted if
12   returned.
13         (b)     An election judge may permit a person to whom an early
14   voting ballot has been sent who cancels the person's application
15   for a ballot to be voted by mail in accordance with Section 84.032
16   but fails to return the ballot to be voted by mail to the early
17   voting clerk, deputy early voting clerk, or presiding judge as
18   provided by that section to vote only a provisional ballot under
19   Section 63.011.
20         SECTION 5.07.          Section 86.001, Election Code, is amended by
21   adding Subsections (f), (f-1), and (f-2) to read as follows:
22         (f)     If      the      information   required    under      Section
23   84.002(a)(l-a) included on the application does not identify the
24   same voter identified on the applicant's application for voter
25   registration under Section 13.002(c) (8), the clerk shall reject the
26   application.
27         (f-1)        If an application is rejected under Subsection (f),



                                            38
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 40 of 77




                                                                                           S.B. No. 1

 1   the clerk shall provide notice of the rejection in accordance wit h

 2   Subsection (c).           The notice must include information regarding t h e

 3   ability      to       correct   or    add     information         required     under     Sectio n

 4   84.002(a) (1-a)          through       the    online       tool    described      by     Section
 5   86.015(c).

 6             (f-2)       If an applicant corrects an application for a ba ll o t

 7   to   be   voted        by mail       online    and      that     application     subsequently

 8   identifies the same voter identified on the applicant's applicatio n

 9   for voter registrat i on, the clerk shall provide a ballot to th e

10   applicant as provided by this chapter.

11             SECTION 5.08.          Section 86.002, Election Code, is amended b y

12   adding Subsections (g), (h), and (i) to read as follows:

13             ( g)    The carrier envelope must include a space that is h idde n

14   from view when the envelope is sealed for the voter to enter the

15   following information:

16                     (1)     the    number       of     the    voter's        driver's     license ,

17   election identification certificate,                        or personal identificati on

18   card issued by the Department of Public Safety;

19                     ( 2)    if the voter has not been issued a number describe d

20   by Sub division          (1),    the last four           digits of the voter's soc i a l

21   security number; or
22                     (3)     a statement by the applicant that the appl i cant

23   has not been issued a number described by Subdivision ( 1) or ( 2) .

24             (h)     A    person may use         the       number    of   a   driver's     l icense ,

25   election identification certificate,                        or personal identificati o n

26   card that has expired for purposes of Subsection (g) if the lice nse

27   or ident if icat ion is otherwise valid.



                                                        39
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 41 of 77




                                                                                      S. B. No . 1

 1               (i)    No record associating an individual voter with a ballo t

2    may be created.

 3               SECTION 5.09.           Section 86.0ll(c), Election Code, is amende d

 4   to read as follows:

 5               (c)    If the return is not timely, the clerk shall enter t he

 6   time of receipt on the carrier envelope and retain it in a locke d

 7   container          for     the period for       preserving the      precinct       elect i o n

 8   records.           The clerk shall destroy the unopened envelope and its

 9   contents after the preservation period.

10               SECTION 5.10.           Section     86.015(c),       Election        Code,      as

11   effective September 1, 2021, is amended to read as follows:

12               ( c)   An online tool used under this section must :

13                       ( 1)    for each election, record:

14                               (A)     each application for a ba l lot to be voted by

15   mail received by the clerk; and

16                               (B)     each carrier envelope sent to a voter by t he

17   c l erk ;

18                       ( 2)    for    each   carrier    envelope,    record    or     assign    a

19   serially numbered                 and   sequentially   issued    bar code    or    t r ac king

20   number that is unique to each envelope; [aM]

21                       (3)     update the applicable Internet website as soon as

22   pract i cable after each of the following events occurs:

23                               (A)     receipt   by the    early voting        clerk    of   the

24   per son's application for a ballot to be voted by mail;

25                               (B)     acceptance or rejection by the early vo ting

26   clerk of the person's application for a ballot to be voted by mai l;

27                               ( C)    placement    in the mail by the         early vo ting



                                                     40
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 42 of 77




                                                                                S.B. No. 1
 1   clerk of the person's official ballot;
 2                           (D)     receipt by the      early voting clerk of         the
 3   per son's marked ballot; and
 4                           (E)     acceptance or rejection by the early voting
 5   ballot board of a per son's marked ballot; and
 6                 (4)       allow    a   voter    to   add   or   correct     information
 7   required under Section 84. 002 ( a) ( 1-a) or Section 86. 002 ( g).
 8          SECTION 5.11.          Sections 87.027(d),         (e),   and   (i), Electi on
 9   Code, are amended to read as follows:
10          (d)    The early voting clerk shall determine the number o f
11   members who are to compose the signature verification committee an d
12   shall state that number in the order calling for the committee 's
13   appointment.        A   committee must        consist of not fewer         than fi ve
14   members.     In an election in which party alignment is indicated on
15   the ballot, each county chair of a political party with a nominee or
16   aligned candidate on the ballot shall submit to the appointing
17   authority a    list of names of persons eligible to serve on the
18   signature verification committee in order of the                       county chair's
19   preference.    The authority shall appoint at least two persons f r om
20   each list in the order of preference indicated on each list to se rve
21   as members of the committee.             The same number of members must be
22   appointed from each list.              The authority shall appoint as [ ~ ]
23   chair of the committee the highest-ranked person on [H-effi] the l ist
24   provided by the political party whose nominee for governor receiv e d
25   the most votes          in the county in the most             recent    gubernato rial
26   general election.         The authority shall appoint as vice chair of t he
27   committee the highest-ranked person on the list provided by t he



                                                  41
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 43 of 77




                                                                                    S. B. No . 1

 1   political party whose nominee for governor received the second mos t

 2   votes     in     the     county   in   the   most       recent    gubernatorial     gene r a l

 3   election.        A vacancy on the committee shall be filled by appo i ntme nt

 4   from    the      original      list    or    from   a    new     list   submitted    by   the

 5   appropriate county chair.

 6             ( e)     To be eligible to          serve on a         signature verificat i o n

 7   committee, a person must be eligible under Subchapter C, Chapte r

 8   32,    for     service as a presiding election judge,                    except that t he

 9   person must be a qualified voter:

10                      (1)    of the county, in a countywide election ordered by

11   the governor or a county authority or in a primary election;

12                      (2)    of the part of the county in which the electio n is

13   held, for an election ordered by the governor or a county autho rity

14   that does not cover the entire county of the person's residence; or

15                      (3)    of   the     political        subdivision,     in   an    elec tion

16   ordered by an authority of a political subdivision other t han a

17   county.

18             (i)      The signature verification committee shall compare the

19   signature on each carrier envelope certificate, except those si gned

20   for a voter by a witness, with the signature on the voter ' s ba ll o t

21   application to determine whether the signatures are those of the

22   voter .      The    committee may also          compare the         signatures with any

23   known signature [tuo or more siEJnat'l:lres] of the voter [made vith. in

24   th.e ~reeedinEJ sill years and] on file with the county clerk or vo t e r

25   registrar to determine whether                  the signatures are those              of t he

26   voter .      Except as provided by Subsection ( 1), a determination u nder

27   this subsection that the signatures are not those of the vote r must



                                                    42
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 44 of 77




                                                                                 S.B. No. 1

 1   be made by a majority vote               of the      committee's membership.          The

 2   committee shall place the jacket envelopes, carrier envelopes, and

 3   applications of voters whose signatures are not those of the vote r

 4   in separate containers from those of voters whose signatures are

 5   those of the voter.        The committee chair shall deliver the sorted

 6   materials to the early voting ballot board at the time specified b y

 7   the board's presiding judge.

 8         SECTION 5.12.        Subchapter B, Chapter 87, Election Code , is

 9   amended by adding Section 87. 0271 to read as follows:

10         Sec. 87. 0271.       OPPORTUNITY          TO   CORRECT   DEFECT:       SIGNATURE

11   VERIFICATION COMMITTEE.            (a)     This section applies to an early

12   voting ballot voted by mail:

13                 ( 1)   for   which    the    voter       did   not   sign    the    carrie r

14   envelope certificate;

15                 ( 2)   for   which    it     cannot      immediately    be    determi n e d

16   whether the signature on the carrier envelope certificate is that

17   of the voter;

18                 ( 3)   missing any required statement of residence;

19                 (4)    missing       information         or    containing         incorre ct

20   information     required    under        Section      84.002(a) (1-a)      or     Sectio n

21   86. 002; or

22                 (5)    containing incomplete information with respect t o

23   a witness.

24          (b)    Not later than the second business day after a signatu re

25   verification committee discovers a defect described by Subsect i o n

26   (a) and before the committee decides whether to accept or rejec t a

27   timely delivered ballot under Section 87 .027, the committee shal l:



                                                43
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 45 of 77




                                                                          S . B. No . 1

 1                 (1)    determine if it would be possible for the voter t o

 2   correct the defect and return the carrier envelope before the time

 3   the polls are required to close on elect ion day; and

 4                 (2)    return the carrier envelope to the voter by ma il,

 5   if the committee determines that it would be possible for the vot er

 6   to correct the defect and return the carrier envelope befo r e the

 7   time the polls are required to close on elect ion day.

 8         (c)     If    the   signature   verification      committee    determin e s

 9   under Subsection (b) (1) that it would not be possible for the vo ter

10   to correct the defect and return the carrier envelope before t he

11   time the polls are required to close on election day, the committe e

12   may notify the voter of the defect by telephone or e-mail and info rm

13   the voter that the voter may request to have the voter's application

14   to vote by mail canceled in the manner described by Section 84 .032

15   or come to the early voting clerk's office in person not later th a n

16   the sixth day after election day to correct the defect .

17          (d)    If the signature verification committee takes an ac tion

18   described by Subsection (b) or (c), the committee must take ei ther

19   action described by that subsection with respect to each bal l o t in

20   the election to which this section applies.

21          (e)    A poll watcher is entitled to observe an action taken

22   under Subsection (b) or (c).

23          (f)    The   secretary of      state may prescribe       any procedures

24   necessary to implement this section.

25          ( g)   Notwithstanding      any   other   law,   a   ballot   may   no t   be

26   finally rejected for a reason listed in Section 87.041(b) ( 1 ), (2),

27   or (6) before the seventh day after election day.



                                              44
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 46 of 77




                                                                                 S. B. No. 1
 1          SECTION 5.13.       Section 87.041, Election Code, is amended b y
2    amending Subsections        (b)    and (e) and adding Subsection ( d-1)                 to
 3   read as follows:
4           (b)    A ballot may be accepted only if:

 5                 (1)    the    carrier      envelope     certificate      is     prope rly
 6   executed;
 7                 (2)    neither       the   voter's     signature    on    the       ba ll o t
 8   application nor the signature on the carrier envelope certificate
 9   is determined to have been executed by a person other than t he
10   voter, unless signed by a witness;
11                 ( 3)   the   voter's       ballot    application    states      a    legal
12   ground for early voting by mail;
13                 (4)    the voter is registered to vote, if registration
14   is required by law;
15                 (5)    the address to which the ballot was mailed to the
16   voter, as indicated by the application, was outside the voter 's
17   county of residence, if the ground for early voting is absence f r om
18   the county of residence;
19                 (6)    for a voter to whom a statement of residence fo rm
20   was required to be sent under Section 86.002(a), the stateme nt of
21   residence is returned in the carrier envelope and indicates t hat
22   the   voter   satisfies      the    residence      requirements     prescribed          by
23   Section 63 . 0011; [,3:M]
24                 (7)    the address to which the ballot was mailed to the
25   voter is an address that is otherwise required by Sections 84.0 02
26   and 86. 003; and
27                 (8)    the information required under Section 86 . 002 (g)
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 47 of 77




                                                                                  S. B. No. 1
 1   provided by the voter identifies the same voter identified on the
 2   voter's       application        for     voter        registration     under      Sectio n
 3   13.002(c) (8).
 4          (d-1)      If a voter provides the information required unde r
 5   Section 86.002(g) and it identifies the same voter identified on
 6   the   voter's     application          for    voter    registration     under     Sectio n
 7   13.002(c)(8), the signature on the ballot application and on the
 8   carrier envelope certificate                  shall be rebuttably presumed to b e
 9   the signatures of the voter.
10          ( e)    In making the determination under Subsection (b) ( 2) , to
11   determine whether the signatures are those of the voter, the boar d
12   may a l so compare the signatures with any known signature [ tus e r
13   mere sigRatures] of the voter [Ff1aee ·1ithiR the preoeeiRg sin year s

14   -aaa-] on file with the county clerk or voter registrar [ts eeterFf1iB. e

15   ·;hether the sigB.atures are these sf the veter].

16          SECTION 5.14.           Subchapter C, Chapter 87, Election Code , is
17   amended by adding Section 87. 0411 to read as fallows:
18          Sec. 87.0411.           OPPORTUNITY TO CORRECT DEFECT:               EARLY VOTING
19   BALLOT BOARD.          (a)    This section applies to an early voting ball ot
20   voted by mail:
21                   ( 1)    for    which    the    voter    did   not    sign   the   car r i er
22   envelope certificate;
23                   ( 2)    for    which     it   cannot     immediately be       determine d
24   whether the signature on the carrier envelope certificate is that
25   of the voter;
26                   ( 3)    missing any required statement of residence;
27                   (4)     missing        information       or   containing        incor r e ct



                                                    46
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 48 of 77




                                                                             S. B. No . 1
 1   information    required      under      Section     84.002(a) (1-a)     or    Section
 2   86.002; or
 3                 (5)    containing incomplete information with respect to
 4   a witness .
 5          (b)    Not later than the second business day after an early
 6   voting ballot board discovers a defect described by Subsection (a)
 7   and before the board decides whether to accept or reject a time ly
 8   delivered ballot under Section 87.041, the board shall:
 9                 (1)    determine if it would be possible for the voter to
10   correct the defect and return the carrier envelope before the time
11   the pol l s are required to close on election day; and
12                 (2)    return the carrier envelope to the voter by ma il,
13   if the board determines that it would be possible for the vo t e r to
14   correct the defect and return the carrier envelope before the t i me
15   the polls are required to close on election day.
16          ( c)   If    the   early   voting      ballot   board    determines      u nder
17   Subsection (b) (1) that it would not be possible for the vo t er to
18   correct the defect and return the carrier envelope before the time
19   the polls are required to close on election day,                   the boa r d may
20   notify the voter of the defect by telephone or e-mail and inform the
21   voter that the voter may request to have the voter's applicat i on to
22   vote by mail canceled in the manner described by Section 84.032 or
23   come to the early voting clerk's office in person not later than the
24   sixth day after election day to correct the defect.
25          (d )   If    the   early    voting     ballot    board   takes    an    ac tion
26   described by Subsection           (b)   or   (c),   the board must take e i t her
27   action described by that subsection with respect to each ballo t in
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 49 of 77




                                                                                 S. B. No . 1

 1   the election to which this section applies.

 2         (e)    A poll watcher is entitled to observe an action take n

 3   under Subsection (b) or (c).

 4         (f)    The    secretary of     state may prescribe             any procedures

 5   necessary to implement this section.

 6         ( g)   Notwithstanding any       other   law,     a    ballot      may not        be

 7   finally rejected for a reason listed in Section 87.041(b) (1), ( 2),

 8   or (6) before the seventh day after election day.

 9         SECTION 5.15.       Section 87.0431(b), Election Code, is ame n d ed

10   to read as follows:

11          (b)   The early voting clerk shall, not later than the 30 th

12   day after election day,       deliver notice to the attorney ge n e r a l,

13   including    certified      copies     of   the   carrier            envelope          and

14   corresponding ballot application, of any ballot rejected becau s e :

15                ( 1)   the voter was deceased;

16                ( 2)   the voter   already voted         in person         in    t he    same

17   election;

18                (3)    the signatures on the carrier envelope and ba ll o t

19   application were not executed by the same person;

20                (4)    the carrier envelope certificate lacked a wi t n e ss
21   signature; [-e+]

22                (5)    the carrier envelope certificate was                     imprope rly

23   executed by an assistant; or

24                ( 6)   the   early voting ballot board or                the     s i gnature

25   verification committee determined that another violation of the

26   Election Code occurred.

27         SECTION 5. 16.      Sect ions 87. 062 (a)   and       ( c) ,   Elect io n      Co de,
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 50 of 77




                                                                             S.B. No. 1
 1   are amended to read as follows:
 2          ( a)     On the   direction of      the presiding       judge,    the   ea r l y
 3   voting ballot board, in accordance with Section 85.032(b), shal l
 4   open the containers [eentainer] for the early voting ballots t h a t
 5   are to be counted by the board, remove the contents from each [-t-he- ]
 6   container, and remove any ballots enclosed in ballot envelopes fro m
 7   their envelopes.
 8          (c)      Ballots voted by mail shall be tabulated and sto r e d
 9   separately from the ballots voted by personal appearance and sha ll
10   be separately reported on the returns [The results sf all earl y
11   veting ballets eeunted by the beard under this subehapter shall be

12   ineluded in the saHle return].

13          SECTION 5 . 17.        Section 87.103, Election Code, is amended to
14   read as follows:
15          Sec. 87.103.       COUNTING BALLOTS AND PREPARING RETURNS.                 (a)

16   The early voting electronic system ballots counted at a centr al
17   counting station, the ballots cast at precinct polling places, a nd
18   the ballots voted by mail shall be tabulated separately [freffi t he
19   ballets east at preeinet palling plaees]              and shall be separate ly
20   repor t ed on the returns.
21          (b )     The   early    voting   returns     prepared    at    the   central
22   counting station must include any early voting results obtained by
23   the early voting ballot board under Subchapter [Subehapters ] D [~
24   &] •

25          SECTION 5.18.          Section 87.126, Election Code, is amended by
26   adding Subsection (a-1) to read as follows:
27          (a- 1)     Electronic     records     made   under   this     section   sha ll



                                             49
     Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 51 of 77




                                                                         S.B. No. 1

 1    record both sides of any application, envelope, or ballot recorded ,
 2    and all such records shall be provided to the early voting ballo t
 3    board, the signature verification committee, or both.
 4          SECTION 5.19.      Subchapter G, Chapter 87, Election Code, is
 5    amended by adding Section 87 .128 to read as follows:
 6          Sec. 87.128.      NOTES.    (a)    Each member of an early voting
 7    ballot board and each member of a signature verification committe e
 8    is entitled to take any notes reasonably necessary to perform t he
 9    member's duties under this chapter.
10          (b)    Notes    taken    under    this   section   may     not     conta in
11    personally identifiable information.
12          (c)    Each member who takes notes under this section s h a ll
13    sign the notes and deliver them to the presiding judge or commit tee
14    chair, as applicable, for delivery to the custodian of electio n
15    records.
16          (d)    Notes collected under this section shall be preserved in
17    the same manner as precinct election records under Section 66. 058 .
18                         ARTICLE 6.   ASSISTANCE OF VOTERS
19          SECTION 6.01.      Section 64.009, Election Code, is amended by

20    amending Subsection (b)        and adding Subsections     (e),    (f),    ( f- 1),
21    (g), and (h) to read as follows:
22          (b)    The     regular   voting    procedures,     except        those   in
23    Subchapter B, may be modified by the election officer to the ext ent
24    necessary to conduct voting under this section.
25           (e)   Except as provided by Section 33.057, a poll watche r is
26    entitled to observe any activity conducted under this section.
27           (f)   A person who simultaneously assists seven or more vote rs
     Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 52 of 77




                                                                                   S . B . No. 1
 1    voting      under       this    section       by   providing      the   voters          with
 2    transportation to the polling place must complete and sign a form,
 3    prov i ded by an election officer, that contains the person's name
 4    and address and whether the person is providing assistance so lely
 5    under this section or under both this section and Subchapter B.
 6             (f-1)      Subsection (f) does not apply if the person is related
 7    to each voter within the second degree by affinity or th e third
 8    degree by consanguinity, as determined under Subchapter B , Chapter
 9    573, Government Code.
10             ( g)    A form completed under Subsection ( f) shall be del ivered
11    to the secretary of state as soon as practicable.                       The sec r e tary
12    shall retain a form delivered under this section for the pe riod for
13    prese r ving the precinct election records and shall make the form
14    available to the attorney general for inspection upon request .
15             (h)     The    secretary      of     state   shall     prescribe     th e      form
16    descr i bed by Subsection (f).
17             SECTION 6 . 02.        Section 64 . 031, Election Code, is amende d to
18    read as fallows:
19             Sec. 64.031.          ELIGIBILITY      FOR   ASSISTANCE.        A    vot e r     is
20    eligible to receive assistance in marking or reading the ball ot, as
21    provided by this subchapter, if the voter cannot prepare or read the
22    ballot because of :
23                     ( 1)   a   physical        disability   that    renders     the     voter
24    unable to write or see; or
25                     ( 2)   an inability to read the language in whic h the
26    ballot is written.
27             SECTION 6.03 .         Subchapter B, Chapter 64, Election Cod e, is



                                                    51
     Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 53 of 77




                                                                                           S.B. No . 1
 1    amended by adding Section 64. 0322 to read as follows:
 2             Sec. 64. 0322.        SUBMISSION        OF    FORM       BY     ASSISTANT.            (a)   A

 3    person,    other than an election officer, who assists a voter i n
 4    accordance      with    this      chapter    is       required         to    complete      a     f or m
 5    stating:
 6                    (1)    the name and address of the person assisting the
 7    voter;
 8                    (2)    the     relationship           to    the     voter      of   the     perso n
 9    assisting the voter; and
10                    (3)    whether the person assisting the voter received o r
11    accepted       any    form   of    compensation             or    other      benefit       from      a
12    candidate, campaign, or political committee .
13             (b)    The secretary of state shall prescribe the form required
14    by th i s section.       The form must be incorporated into the officia l
15    carrier envelope if the voter is voting an early voting ballot by
16    mail and receives assistance under                         Section 86. 010,          or must be
17    submitted to an election officer at the time the voter casts a
18    ballot if the voter is voting at a polling place or under Sect ion
19    64.009.
20             SECTION 6.04.         Section 64.034, Election Code, is amended t o
21    read as fallows:
22             Sec. 64.034.        OATH.      A person,                other      than    an    elect i on
23    officer, selected to provide assistance to a voter must take the
24    following oath, administered by an election officer at the polling
25    place, before providing assistance:
26             "I swear (or affirm) under penalty of perjury that the voter I
27    am   assisting        represented     to    me    they       are       eligible      to    r ec eive



                                                   52
     Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 54 of 77




                                                                                                 S.B. No . 1

 1    assistance; I will not suggest, by word, sign, or gesture, how t he

 2    voter    should vote;                I    will confine my assistance to                   reading t h e

 3    ballot to the voter, directing the voter to read the ballot, mark ing

 4    the voter's ballot,                      or   directing the voter             to mark the bal l o t;

 5    [ansr..rerin~ the voter's (½uestions, to statin~ propositions on the

 6    hallot, ane to namin~ saneieates ane,                              if listee, their politi sal

 7    parties,] I will prepare the voter's ballot as the voter di r ect s; _!

 8    did not pressure or coerce the voter into choosing me to pro vide

 9    assistance;        [-a-H-€i-]   I am not the voter's employer, an agent of the

10    voter's employer, or an officer or agent of a labor union to wh ich

11    the voter belongs; I will not communicate information about how the

12    voter    has   voted            to       another        person;    and    I     understand     that    if

13    assistance     is         provided             to   a     voter    who    is     not    eligible      f or

14    assistance, the voter's ballot may not be counted.                                11




15             SECTION 6 . 05.                 Sections 86.0l0(e),             (h),    and    (i),   Elec tion

16    Code, are amended to read as follows:

17             (e)   A    person who assists a voter to prepare a ballot to be

18    voted by mail shall enter on the official carrier envelope of the

19    voter:

20                   ill          the           person's        signature,          printed      name ,     and

21    residence addressL

22                   (2)          the          relationship         of   the    person       providing      t he

23    assistance to the voter; and

24                   (3)          whether the person received or accepted any f orm

25    of compensation or other benefit from a candidate,                                       campaign,     or

26    political committee i n exchange for providing assistance                                       [on the

27    offisial sarrier envelope of the uoter].



                                                               53
         Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 55 of 77




                                                                                   S .B. No . 1
     1          (h)    Subsection ( f) does not apply..:..
     2                 (1)     to a violation of Subsection (c), if the person i s
     3    related t o the voter within the second degree by affinity or t h e
     4    third degree by consanguinity, as determined under Subchapte r B,
     5    Chapter 573, Government Code, or was physically living in the same
     6    dwelling as the voter at the time of the event; or
_ _ _7                 ( 2) _ to a Ri-o.l-a-t-i.~:A.-0-f.-S-ubse-e-tt-e--n--+e-} , if Lhe:=pffsoff rs-- - -

     8    related to the voter within the second degree by affinity or the
     9    third degree by consanguinity, as determined under Subchapte r B,
    10    Chapter 573, Government Code.
    11          ( i)   An     offense   under    this    section     for    a   violation      of
    12    Subsection (c) is increased to the next higher category of off ense
    13    if it is shown on the trial of an offense under this section that :
    14                 (1)     the   defendant     was   previously        convicted      of   an
    15    offense under this code;
    16                 (2)     the offense involved a voter 65 years of age or

    17    older; or
    18                 ( 3)    the defendant committed another offense unde r t his
    19    section in the same election.
    20          SECTION 6. 06.       Section 86. 0105, Election Code, i s amende d by
    21    amending Subsections (a), (c), and (e) and adding Subsection (f ) to
    22    read as follows:
    23           (a)   A person commits an offense if the person:
    24                 ( 1)    compensates or offers to compensate another pe rso n
    25    for assisting voters as provided by Section 86. 010 [, as part of any
    26    perfonRanee hasee eompensation seReme hasee on tfl:e numher of vote r s

    27    assistee or in ufl:iefl: anotRer person is presentee uitR a quota of



                                                   54
     Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 56 of 77




                                                                                          S.B. No . 1

 1    voters to se assistea as proviaea sy £ection Be.010); or

 2                       (2)      solicits,        receives,       or    [engages    in      another

 3    practice          that      causes     another        person's     coffipensation     from    or

 4    employment status rrith the person to se aepenaent on the numser of

 5    voters assist ea as proviaea sy £ection Be. 010, or

 6                       [ ( J)    rrith lrnorrleage that         accepting coffipensation for

 7    such activity is illegal,]                     accepts compensation for        an activit y

 8    described by Subdivision ( 1) [ or ( 2)] .

 9               (c)     An offense under this section is a state jail felony [-i-f.

10    it is shorrn on the trial of an offense unaer this section that t he

11    aefenaant uas previously convictea tr,io or more times unaer th is

12    section].

13               ( e)    For purposes         of     this     section,   compensation mean s        an

14    economic benefit as defined by Section 38.01, Penal Code [any fo rm

15    of monetary payffient,               goo as,    services,     senef its,   or promises        or

16    offers of employment, or any other form of consiaeration offerea to

17    another person in e1rnhange for assisting uoters] .

18               (f)     This section does not apply if the person assisting a

19    voter is an attendant or caregiver previously known to the voter .

20               SECTION 6.07.         Section 86.013(b), Election Code, is amend ed

21    to read as follows:

22               (b)     Spaces must appear on the reverse side of the offi cial

23    carrier envelope for:

24                       (1)      indicating the identity and date of the electio n;

25    [-a-ne,]

26                       ( 2)     entering         the      signature,     printed    name,        a nd

27    residence address of a person other than the voter who deposits t he



                                                         55
     Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 57 of 77




                                                                                             S .B. No .    1

 1    carrier envelope in the mail or with a common or contract carr ierL
 2    and
 3                      (3)     indicating the relationship of that person to the
 4    vot e r.
 5               SECTION 6.08.          (a)   The secretary of state shall condu ct a
 6    study      regarding       t he    implementation          of        educational        progr ams,
 7    including        the    production       and     publication          on    the    secretar y       of
 8    state ' s Internet website of instructional videos, to help v o ters
 9    with disabilities understand how to use voting systems used in this
10    state .
11               (b)   Not later than December 1, 2022, the secretary of s t a te
12    shall submit to the standing committees of the legislature with
13    jurisdiction over elections a report on the study required by this
14    section .
15               (c)   The secretary of state, using existing resources , may
16    contract with a qualified vendor to conduct the study require d by
17    this section.
18               (d)   This section expires December 1, 2023.
19                     ARTICLE 7.       FRAUD AND OTHER UNLAWFUL PRACTICES
20               SECTION 7.01.          Chapter      63,    Elect ion       Code,       is   amende d     by
21    adding Section 63. 0111 to read as follows:
22               Sec. 63.0111.          OFFENSES RELATED TO PROVISIONAL VOTING .                        (a )
23    An    election         judge   commits      an   offense        if    the     judge     knowingly
24    provides a voter with a form for an affidavit required by Section
25    63.001 if the form contains information that the judge entere d on
26    the form knowing it was false.
27               (b)   An offense under this section is a state jail felony .



                                                       56
     Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 58 of 77




                                                                                  S.B. No . 1
 1             SECTION 7.02.        Sections 276.004(a)        and (b), Election Cod e,
 2    are amended to read as follows:

 3             (a)    A person commits an offense if, with respect to anoth er
 4    person    over       whom    the   person    has    authority   in    the    scope    of
 5    employment, the per son knowingly:

 6                     (1)      refuses to permit the other person to be abse nt
 7    from work on election day or while early voting is in progress for
 8    the purpose of attending the polls to vote; or

 9                     (2)      subjects or threatens to subject the other perso n
10    to a penalty for attending the polls on election day or while ea rly
11    voting is in progress to vote.
12             (b)    It is an exception to the application of this sectio n
13    that the person's conduct occurs in connection with an election in
14    which the polls are open on election day or while early voting is in
15    progress       for      voting for   two    consecutive    hours     outside   of    t he
16    voter's working hours.

17             SECTION 7.03.         Sections 276.013(a) and (b), Election Co de,
18    are amended to read as follows:
19             (a)    A person commits an offense if the person knowing ly or
20    intentionally makes any effort to:
21                     ( 1)     influence the independent exercise of the vot e o f
22    another in the presence of the ballot or during the voting proces s.L
23    including by altering the ballot of another or by otherwise causing
24    a ballot to not reflect the intent of the voter;
25                     (2)      cause a voter to become registered, a ballot t o be
26    obtained, or a vote to be cast under false pretenses; [~]
27                     (3)      cause    any   false     or   intentionally       mislead ing



                                                  57
     Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 59 of 77




                                                                                       S.B. No . 1

 1    statement , representation, or information to be provided:

 2                          (A)   to an e 1 e ct ion off i c i a 1 ; or

 3                          (B)   on an application for ballot by mail, carr i e r

 4    envelope , or any other official election-related form or docume nt 1.

 5                   (4)    prevent a voter from casting a legal ballot in an

 6    election in which the voter is eligible to vote;

 7                   (5)    provide   false     information       to      a    voter    with   the

 8    intent of preventing the voter from voting in an election in wh ich

 9    the voter is eligible to vote;

10                   (6)    cause the ballot not to reflect the intent of the

11    voter;

12                   (7)    cause a ballot to be voted for another person t hat

13    the person knows to be deceased or otherwise knows not to be a

14    gualif ied or registered voter;

15                   ( 8)   cause or enable a vote to be cast more than onc e in

16    the same election; o r

17                   ( 9)   discard    or   destroy     a   voter's           completed    ba l l ot

18    without the voter's consent.

19             (b)   An offense under this section is a Class A misdemeanor,

20    unless:

21                   (1)    the person committed the offense while acti ng i n

22    the person's capacity as an elected official,                       in which case the

23    offense is a state jail felony; or

24                   (2)    the person is convicted of an attempt,                       in wh ich

25    case the offense is a Class ~ [A] misdemeanor.

26             SECTION 7. 04.     Chapter     276,   Election      Code,        is   amended by

27    adding Sections 276.015, 276.016, 276.017, 276.018, and 276 . 0 19 to



                                                58
     Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 60 of 77




                                                                            S.B. No. 1

 1    read as follows:

 2          Se c . 276.015 .    VOTE HARVESTING.       (a)    In this section :

 3                  ( 1)   "Benefit" means anything reasonably regarded a s a

 4    gain or advantage, including a promise or offer of employme n t , a

 5    political favor,      or an official act of discretion, whether t o a

 6    person or another party whose welfare is of interest to the perso n.

 7                  ( 2)   "Vote   harvesting      services"        means    in-pers on

 8    interact i on with one or more voters, in the physical presen c e o f an

 9    official ballot or a ballot voted by mail, intended to deliver v otes

10    for a spec if ic candidate or measure.

11           (b)    A person commits an offense if the person, directly or

12    through a third party, knowingly provides or offers to provide vote

13    harvesti n g services in exchange for compensation or other benef it.

14           (c)    A person commits an offense if the person, direc t l y or

15    through a third party,       knowingly provides or           offers to pro vide

16    compensation or other benefit to another person in exchange f or

17    vote harvesting services.

18           (d)    A person commits an offense              if the person knowi n gl y

19    collects or possesses a mail ballot or official carrier envelope in

20    connection with vote harvesting services.

21           ( e)   This sect ion does not apply to:

22                  (1)    an   activity   not    performed         in   exchange     for

23    compensation or a benefit;

24                  (2)    interactions that do not occur in the presenc e of

25    the ba l lot or during the voting process;

26                  (3)    interactions    that   do    not     directly    involve    an

27    official ballot or ballot by mail;



                                            59
                                                                                             7<.
     Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 61 of 77




                                                                            S . B . No . 1
 1                   (4)    interactions that are not conducted in-person with
 2    a voter; or
 3                   (5)    activity that is not designed to deliver votes for
 4    or against a specific candidate or measure.
 5            (f )   An offense under this section is a felony of the t hird
 6    degre e .
 7            (g )   If    conduct    that   constitutes    an    offense   under   this
 8    section also constitutes an offense under any other law, the a ctor
 9    may be prosecuted under this section, the other law, or both .
10            (h)    Records necessary to investigate an offense under this
11    section or any other section of this code shall be provided by an
12    elect i on officer in an unredacted form to a law enforcement off ic e r
13    upon request.         Records    obtained under      this   subsection are not
14    subject to public disclosure.
15            Sec. 276. 016.     UNLAWFUL SOLICITATION AND DISTRIBUTION                OF
16    APPLICATION TO VOTE BY MAIL .           (a)   A public official or ele ction
17    offic i al commits an offense if the official, while acting i n an
18    offic i al capacity, knowingly :
19                   (1)    solicits the submission of an application to vote
20    by mail from a person who did not request an application;
21                   (2)    distributes an application to vote by mail t o a
22    person who did not request the application unless the dist r ibut ion
23    is exp r essly authorized by another provision of this code;
24                   (3)    authorizes or approves the expenditure of publ ic
25    funds to facilitate third-party distribution of an applicat i on to
26    vote by mail to a person who did not request the application; o r
27                   (4)    completes any portion of an application to vo te by



                                               60
     Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 62 of 77




                                                                              S .B. No . 1

 1    mail and distributes the application to an applicant.

 2           (b)      An offense under this sect i on is a state jail felony .

 3           ( c)     Subsection (a) (2) does not apply if the public offic ial

 4    or election official engaged in the conduct described by Subsec tion

 5     (a) (2) by providing access to an application to vote by mail f rom a

 6    publicly accessible Internet website.

 7            (d )    Subsection ( a) (4) does not apply if the public off icial

 8    or election official engaged in the conduct described by Subse ction

 9     ( a ) ( 4) while lawfully assisting the applicant under Section 8 4. 003.

10            (e)     Subsection (a) does not apply if the public offi c i a l or

11    election official:

12                     (1)   provided general information about voting b y ma il,

13    the vote by mail process, or the time lines associated with v oting to

14    a person or the publ i c; or

15                     (2)   engaged in the conduct descr i bed by Subse c t i o n (a)

16    while acting in the official's capacity as a candidate for a public

17    elective office .

18            (f)     The remedy prov i ded under this chapter i s cumulat ive,

19    and does not restrict any other remedies provided by this code o r by

20    law.   A violation of this section is subject to injunctive r el i e f or

21    mandamus as provided by this code.

22           Sec. 276. 017 .      UNLAWFUL DISTRIBUTION OF EARLY VOTING BALLOTS

23    AND BALLOTING MATERIALS.            (a)    The early voting clerk or           o ther

24    election       official   commits   an    offense   if   the   clerk   or   off icial

25    knowingly mails or otherwise provides an early voting ballo t                     by

26    mail or other early voting by mail ballot materials to a perso n who

27    the cle r k or official knows did not submit an application for a



                                                61
     Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 63 of 77




                                                                                     S.B. No . 1

 1    ballot to be voted by mail under Section 84. 001.

 2             (b)    An offense under this section is a Class A misdemeanor .

 3             Sec. 276.018.          PERJURY IN CONNECTION WITH CERTAIN ELECTION

 4    PROCEDURES.          (a) A person commits an offense if, with the intent t o

 5    deceive,       the     person    knowingly    or    intentionally       makes    a    fal s e

 6    statement or swears to the truth of a false statement:

 7                     (1)     on a voter registration application; or

 8                     (2)     previously made while making an oath, declaratio n,

 9    or affidavit described by this code.

10             (b)    An offense under this section is a state i ail felony .

11             Sec. 276.019.          UNLAWFUL ALTERING OF ELECTION PROCEDURES .                 A

12    public official or election official may not create, alter, modi fy,

13    waive,    or suspend any election standard, practice,                     or procedu re

14    mandated by law or rule in a manner not expressly authorized by this

15    code.

16                                     ARTICLE 8.    ENFORCEMENT

17             SECTION 8.01.           Subchapter E, Chapter 31, Election Code,                 is

18    amended by adding Sections 31.128, 31.129, and 31.130 to read a s

19    follows:

20             Sec. 31.128.           RESTRICTION    ON    ELIGIBILITY.        (a)     In    th is

21    section , " election official" does not include a chair of a coun ty

22    political party holding a primary election or                       a   runoff prima ry

23    election.

24             (b)    A person may not serve as an election official if t he

25    person has been finally convicted of an offense under this code.

26             Sec. 31. 129.          CIVIL PENALTY.      ( a)   In this section, "elec tion

27    official" has the meaning assigned by Section 31.128.



                                                    62
     Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 64 of 77




                                                                       S. B . No .    1

 1          (b)     An election official may be liable to this state fo r a
 2    civil penalty if the official:
 3                  (1)    is employed by or is an officer of this stat e or a
 4    politica l subdivision of this state; and
 5                  (2)    violates a provision of this code.
 6          (c )    A civil penalty imposed under this section may i n clude
 7    termination of the person's employment and loss of the p e r son's
 8    employment benefits.
 9          Sec. 31.130.       SUIT AGAINST ELECTION OFFICER.          An a c t ion,
10    including an action for        a   writ    of mandamus,   alleging t h at      an
11    election officer violated a provision of this code while actin g in
12    the officer's official capacity may only be brought against the
13    officer in the officer's official capacity.
14          SECTION 8.02.       Sections 232 . 00B(b),   (c), and (d), El e c tion
15    Code, are amended to read as follows:
16          (b)     Except as provided by Subsection (c), a contestant must
17    file the petition not later than the later of the 45th [ ~ ] day
18    after the date the elect i on records are publicly ava i lable under
19    Section 1.012 or the official result of the contested elec t io n is
20    determined.
21          (c)     A contestant must file the petition not later than the
22    later of the 15th [ ~ ] day after the date the election records a re
23    publicly available under Section 1.012 or the official resul t                 is
24    determined in a contest of :
25                  ( 1)   a primary or runoff primary election; or
26                  (2)    a general or special election for which a run o ff is
27    necessary according to the official result or will be necess ary if



                                            63
     Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 65 of 77




                                                                                       S .B. No . 1

 1    the contestant prevails.

 2               (d)   A contestant must deliver, electronically or otherwis e,

 3    a   copy    of   the     petition to      the    seer etary of      state    by the     same

 4    deadline prescribed for the filing of the petition.

 5             SECTION 8.03.          Title 14, Election Code, is amended by ad ding

 6    Subtitle D to read as follows:

 7                             SUBTITLE D.    OTHER ELECTION LAWSUITS

 8           CHAPTER 24 7.      LAWSUIT ALLEGING IMPROPER ELECTION ACTIVITIE S

 9             Sec. 247.001.          PETITION        ALLEGING     FRAUD.         This     chap ter

10    applies to a civil suit in which a candidate in an election allege s

11     in the petition that an opposing candidate, an agent of the oppos in g

12    candidate, or a person acting on behalf of the opposing cand i date

13    with    the      candidate's      knowledge       violated    any     of   the     follow ing

14    sections of this code:

15                      (1)     Section 13.007;

16                      (2)     Section 64.012;

17                      (3)     Section 64.036;

18                      ( 4)    Section 84.003;

19                      (5)     Section 84.0041;

20                      (6)     Section 86.0051;

21                      (7)     Section 86.006;

22                      (8)     Section 86.010;

23                      (9 )    Sect ion 2 7 6 . 0 13 ; and

24                      (10)     Section 276.015.

25               Sec. 247.002.        PROCEDURE.           A candidate in an elect i on may

26     file a petition for an action under this chapter in any county wh e re

27     a defendant res i ded at the time of the election.                   If the elec t i o n is



                                                      64
     Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 66 of 77




                                                                                          S. B. No. 1
 1    for a statewide office, the candidate may also file the petition i n
 2    a district court in Travis County.
 3             Sec. 24 7. 003.     FILING PERIOD FOR PETITION.                A candidate in a n
 4    election may file a petition for an action under this chapter not
 5    earlier than the day after the date the election is certified a nd
 6    not later than the 45th day after the later of that date or t he date
 7    election records are made publicly available under Section 1 . 01 2.
 8             Sec. 247.004.       DAMAGES.            (a)         If   it    is        shown    by     a
 9    preponderance of the evidence that a defendant, an agent of the
10    defendant, or a person acting on behalf of the defendant with the
11    defendant's knowledge committed one or more violations of a sect i on
12    described by       Section     24 7. 001,   the        defendant       is    liable       to    the
13    plaintiff for damages in an amount of $1,000 for each violat i on .
14             (b)    Notwithstanding      Section           41.004,    Civil       Practice          and
15    Remedies Code, a court shall award damages under Subsection ( a ) to
16    the plaintiff       irrespective of whether the p l aintiff                        is a wa rded
17    actual damages.
18             Sec. 247.005.       ATTORNEY'S     FEES.            In an action under                this
19    chapter,       the court may award reasonable attorney's fees to the
20    prevailing party.
21             SECTION 8.04.       Section 273.061, Election Code, is amended to
22    read as follows:
23             Sec. 273.061.       JURISDICTION.             1§1    The supreme court o r               a
24     court   of    appeals   may   issue    a   writ        of   mandamus        to    compel       the
25    performance of any duty imposed by law in connection wit h the
26    holding of an election or a political party convention, regard less
27     of whether the person responsible for performing the duty is a



                                                  65
     Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 67 of 77




                                                                                         S. B . No . 1
 1    public officer.

 2           (b)    The    court     of   er iminal        appeals       may    issue    a   writ     of

 3    mandamus to compel the performance of any duty imposed by law in

 4    connection      with     the     provision,           sequestration,         transfer,          or

 5    impoundment     of     evidence     in   or     records       relating      to     a   criminal

 6    investigation conducted under this code or conducted in connect ion

 7    with the conduct of an election or political party convention .                               If a

 8    writ of mandamus is issued under this subsection, it shall inc lude

 9    an   order    requiring      the    provision,            sequestration,       transf e r ,     or

10    impoundment of the evidence or record.

11           SECTION 8.05 .          Subchapter D, Chapter 22, Government Code , is

12    amended by adding Sections 22. 304 and 22. 305 to read as follows :

13           Sec. 22.304.        COURT SITTING IN PANELS FOR CERTAIN ELECT ION

14    PROCEEDINGS;     CRIMINAL OFFENSE.                  (a)     In this       sect ion,        " public

15    official" means any person elected, selected, appointed, emplo yed,

16    or otherwise designated as an officer, employee, or agent of this

17    state, a government agency, a political subdivision, or any o ther

18    public body established by state law.

19            (b)    Notwithstanding           any        other    law     or    rule,       a     co urt

20    proceeding entitled to priority under Section 22.305 and fil ed in a

21    court of appeals shall be docketed by the clerk of the cou r t                                 a nd

22    assigned to a panel of three justices determined using an automated

23    assignment system.

24            (c)    A person,        including       a     public       official,      commi t s     an

25    offense if the person communicates with a                          court clerk wit h the

26    intention of influencing or attempting to influence the compos ition

27    of a three-justice panel assigned a specific proceeding und e r this



                                                     66
     Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 68 of 77




                                                                          S.B. No . 1
 1    section.
 2            ( d)   An offense under this section is a Class A misdemeanor .
 3           Sec. 22.305.          PRIORITY OF CERTAIN ELECTION PROCEEDINGS .      (a)
 4    The supreme court or a court of appeals shall prioritize ov e r any
 5     other proceeding pending or filed in the court a proceed ing for
 6     injunctive relief or for a writ of mandamus under Chapt er 273,
 7    Election Code, pending or filed in the court on or after t h e 70th
 8     day before a general or special election.
 9            (b )   If granted, oral argument for a proceeding descr i be d by
10     Subsection ( a) may be given in person or through electronic means.
11           SECTION 8.06.          Section 23.101, Government Code, is amended
12    by amending Subsection (a) and adding Subsections (b-1) and (b-2)
13     to read as follows:
14            (a)    Except as provided by Subsection (b-1), the [ ~ ] trial
15     courts of this state shall regularly and frequent l y set h earings
16     and t r ia l s of pending matters, giving preference to hea rin g s and
17     tr i als of the following:
18                   ( 1)   temporary injunctions;
19                   (2)    criminal actions, with the following actions g iven
20    preference over other criminal actions:
21                          (A)     criminal actions against defendants who a re
22     detained in jail pending trial;
23                          (B)     criminal actions involving a charge t h a t      a
24     person committed an act of family violence, as defined by Sec tion
25     71. 004, Family Code;
26                          ( C)    an offense under:
27                                   (i)   Section 21.02 or 21.11, Pena l Code ;



                                                67
     Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 69 of 77




                                                                                         S .B. No .     1

 1                                   (ii)        Chapter 22, Penal Code, if the vict i m

 2     of the alleged offense is younger than 17 years of age;

 3                                   ( iii)       Section       25. 02,     Penal     Code,     if   th e

 4    victim of the alleged offense is younger than 17 years of age ;

 5                                   (iv)        Section 25.06, Penal Code;

 6                                   (v)        Section 43. 25, Penal Code; or

 7                                   (vi)        Section       20A.02(a) (7),         20A.02(a) (8),

 8     or 20A. 03, Penal Code;

 9                            (D)    an offense described by Article 62.001(6 ) (C)

10     or ( D) , Code of Criminal Procedure; and

11                            (E)    criminal          actions      against     persons       who    ar e

12     detained as provided by Section 51.12, Family Code, after transfe r

13     for prosecution in er iminal court under Section 54. 02, Family Code ;

14                      (3)   election      contests        and     suits    under     the    Elect ion

15     Code;

16                      (4)   orders    for      the    protection         of   the    family    unde r

17     Subtitle B, Title 4, Family Code;

18                      (5)   appeals      of    final      rulings       and   decisions       of   the

19     division    of     workers'     compensation            of   the     Texas     Department      of

20     Insurance regarding workers' compensation claims and claims und er

21     the Federal Employers' Liability Act and the Jones Act;

22                      (6)   appeals of final orders of the commissioner of t he

23     General Land Office under Section 51.3021, Natural Resources Code ;

24                      (7)   actions in which the claimant has been diagnos ed

25     with    malignant      mesothelioma,            other    malignant        asbestos-related

26     cancer, malignant silica-related cancer, or acute silicosis; a n d

27                      (8)   appeals brought under Section 42.01 or 42.015 , Tax



                                                       68
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 70 of 77




                                                                                      S.B. No. 1

 1   Code, of orders of appraisal review boards of appraisal district s

 2   estab l ished for counties with a population of less than 175,000.

 3            (b-1)        Except for a criminal case in which the death pena lty

 4   has been or may be assessed or when it would otherwise interfe re
 5   with a constitutional right, the trial courts of this state sha ll

 6   prioritize over any other proceeding pending or filed in the co ur t a

 7   proceeding for injunctive relief under Chapter 273, Election Cod e,

 8   pending or filed in the court on or after the 70th day befo r e a

 9   general or special election.

10            (b-2)        A hearing in a         proceeding described by Subsec t i on
11   (b-1)    may     be    held     in   person    or    through    electronic       means,    as

12   determined by the court.

13            SECTION 8.07.           Chapter 23,        Government Code,      is amended by
14   adding Sub chapter D to read as follows:

15                               SUB CHAPTER D.    GENERAL PROVISIONS

16            Sec. 2 3. 301 .        ASSIGNMENT OF CERTAIN ELECTION PROCEEDINGS;

17   CRIMINAL OFFENSE.             (a)    Notwithstanding any other law or rule, the

18   clerk of a district court in which a proceeding entitled to prio rity

19   under Section 23 .101 (b-1) is filed shall docket the proceeding and,

20   if more than one district court in the county has jurisdiction ove r

21   the proceeding, randomly assign the proceeding to a district co urt

22   using an automated assignment system.
23            (b)     Notwithstanding any other law or rule, the clerk o f                       a

24   county    court        or    statutory   county       court    in which     a    proceed ing

25   entitled to           priority under         Section   23 .101 (b-1)   is       filed   sha ll
26   docket the proceeding and, if more than one court in the county h a s

27   jurisdiction over the proceeding, randomly assign the proceeding to



                                                    69
     Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 71 of 77




                                                                                 S.B. No. 1
 1    a cou r t using an automated assignment system.
 2           (c )   A person,      including         a    public   official,    commits   an

 3    offense if the person communicates with a county or district cler k
 4    with the intention of influencing or attempting to influence the
 5    court or judge assigned to a proceeding under this section.
 6           (d)    An offense under this section is a Class A misdemeano r,

 7    except that the offense is a state jail felony if it is shown on t h e
 8    trial of the offense that the person committed the offense whi le

 9    acting in the person's official capacity as an election official.
10           (e)    If a district or county clerk does not comply with th is

11    section, a person may seek from the supreme court or a court of

12    appeals a writ of mandamus as provided by Section 273 . 061, Elect i o n

13    Code, to compel compliance with this section.
14           Sec. 23. 302.       DEADLINES      IN       CERTAIN   ELECTION    PROCEEDINGS .

15    (a)   Not later than 24 hours after the proceeding is filed, a judge
16    to whom a case is assigned under Section 23.301(b) who wishes to b e

17    recused from the proceeding must, before recusal:
18                  (1)    hear an application for any emergency tempora ry
19    relief sought;
20                  (2)    grant    or   deny    any       emergency    temporary    relie f
21    sought; and
22                  ( 3)   set a scheduling order that provides:
23                         (A)     a date for a hearing on any injunction sought

24    not later than five days after the date on which the proceeding was
25    filed; and

26                         (B)     discovery     and       deposition   deadlines    befo re
27    the expiration of any emergency relief order entered.



                                                70
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 72 of 77




                                                                               S.B. No. 1
 1         (b)      The presiding judge of an administrative region shal l
 2   assign a new judge to a proceeding assigned under Section 23. 301 (b )
 3   not later than 12 hours after the original judge assigned to t h e
 4   proceeding is recused under Subsection (a).
 5         ( c)     A final     order    in   a    proceeding filed        under   Sectio n
 6   273.081,     Election     Code,    shall be         submitted    in writing to    the
 7   parties not later than 24 hours after the                       judge makes a fin al
 8   determination in the proceeding.
 9         (d)      If a district judge does not comply with this sectio n, a
10   person may seek from the supreme court,                    the court of er iminal
11   appeals, or a court of appeals a writ of mandamus as provided b y
12   Section 273.061,        Election Code,            to compel compliance with th is
13   section.
14         (e)      Notwithstanding       Section          23.l0l(b-1),    a   proceeding
15   relating to a permanent injunction being sought in connection to a
16   challenge under Section 141.034, Election Code, may be heard af t e r
17   the primary election has been canvassed.
18                ARTICLE 9.    INELIGIBLE VOTERS AND RELATED REFORMS
19         SECTION 9.01.         Chapter 42,           Code of Criminal Procedure ,      is
20   amended by adding Article 42. 0194 to read as follows:
21         Art. 42.0194.         FINDING REGARDING FELONY CONVICTION.               In t h e
22   trial of a felony offense, if the defendant is adjudged guilty of
23   the offense, the court shall:
24                  (1)   make an affirmative finding that the person has
25   been found guilty of a felony and enter the affirmative finding in
26   the judgment of the case; and
27                  (2)   instruct the defendant regarding how the fe l ony



                                                  71
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 73 of 77




                                                                         S. B. No.    1

 1   conviction will impact the defendant's right to vote in this state .
 2         SECTION 9.02.       Article 42.01, Code of Criminal Procedure, as

 3   effective September 1, 2021, is amended by adding Section 16 to r e ad
 4   as follows:

 5         Sec. 16.       In   addition    to     the   information   described      by

 6   Section 1, the judgment should reflect the affirmative finding a nd

 7   instruction entered pursuant to Article 42 .0194.

 8         SECTION 9.03.        Section 64.012, Election Code, is amende d by

 9   amending Subsections (a) and (b) and adding Subsections (c) and (d)

10   to read as follows:
11          (a)    A person commits an offense if the person knowingly or
12   intentionally:

13                 (1)    votes or attempts to vote in an election in which

14   the person knows the person is not eligible to vote;
15                 ( 2)   []movingly]     votes or attempts to vote more t han
16   once in an election;

17                 ( 3)   [lmouingly]     votes    or   attempts to vote   a   ba l l ot

18   belonging to another person, or by impersonating another pe r so n;
19   [~]

20                 (4)    [lmo'1in9ly] marks or attempts to mark any por tion

21   of another person ' s ballot without the consent of that person , or

22   without specific direction from that person how to mark the bal l o t 1.
23   or

24                 (5)    votes or attempts to vote in an election in this

25   state after voting in another              state   in an election in wh i c h    a

26   federal office appears on the ballot and the election day for b o th
27   states is the same day.
 Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 74 of 77




                                                                                        S. B. No. 1
 1             (b)    An offense under this section is a Class A misdemeanor

 2   [feleny of the seeoni ie~ree unless the person is eenrzietei of an

 3   atteffif)t.     In that ease, the effense is a state jail felony].

 4             (c)    A person may not be convicted solely upon the fact that

 5   the person signed a provisional ballot                      affidavit under              Section

 6   63. 011    unless        corroborated      by    other    evidence       that      the    person

 7   knowingly committed the offense.

 8             (d)    If     conduct    that    constitutes       an       offense      under      this

 9   section also constitutes an offense under any other law, the actor

10   may be prosecuted under this section, the other law, or both.

11             SECTION 9. 04.       The      change    in law made by this              article      in

12   adding Section 64. 012 ( c),             Election Code,          applies      to   an offense

13   committed before,           on,   or after the effective date of this Act,

14   except that a final conviction for an offense under that section

15   that exists on the effective date of this Act remains unaffected by

16   this article.

17     ARTICLE 10.           REPEALER; SEVERABILITY; TRANSITION; EFFECTIVE DATE

18             SECTION 10. 01.         The    fallowing       provisions      of     the   Election

19   Code are repealed:

20                     (1)     Section 85.062(e);

21                     (2)     Section 86.0105(b); and

22                     (3)     Section 127.201(f).

23             SECTION 10.02.          If    any     provision        of    this     Act      or    its

24   application to any person or                  circumstance        is held invalid,             the

25   invalidity does not affect other provisions or applications of this

26   Act   that      can be     given effect without            the    invalid provision or

27   application, and to this end the provisions of this Act are declared



                                                      73
     Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 75 of 77




                                                                              S .B . No . 1
 1    to be sever able.
 2          SECTION 10 . 03.       (a)     Except as otherwise provided by t his
 3    Act, the changes in law made by this Act apply only to an off ense
 4    committed on or after the effective date of this Act.                   An of fense
 5    committed before the effective date of this Act is governed b y the
 6    law in effect when the offense was committed, and the forme r law is
 7    continued in effect for that purpose.           For purposes of this se ction,
 8    an offense was committed before the effective date of this Act if
 9    any element of the offense occurred before that date.
10           (b )   The changes in law made by this Act apply onl y t o an
11    election ordered on or after the effective date of th i s Act .                    An
12    election ordered before the effective date of this Act is gove rned
13    by the law in effect when the election was ordered, and the fo rmer
14    law is continued in effect for that purpose.
15           (c)    The changes in law made by this Act apply onl y to an
16    application to vote an early voting ballot by mail submi tted o n or
17    after the effective date of this Act.             An application to vo t e an
18    early voting ballot by mail submitted before the effectiv e d ate of
19    this Act is governed by the law in effect when the appli c ati on was
20    submitted,    and the former         law is continued in effect           for    that
21    purpose.
22           (d)    The changes in law made by this Act apply onl y t o an
23    application    for   voter      registration    submitted     on   or   afte r    the
24    effective date of this Act.
25           (e)    Chapter    247,      Election   Code,   as   added   by   thi s    Act,
26    applies only to a cause of action for which the associated e l e ction
27    occurr e d after the effective date of this Act.



                                               74
    Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 76 of 77




                                                            S.B. No . 1

1         SECTION 10.04.   This Act takes effect on the 91st day after
2   the last day of the legislative session.




                                     75
                                                                                                       , ''4


Case 5:21-cv-00844-XR Document 753-1 Filed 09/05/23 Page 77 of 77




                                                                                   S.B. No. 1




                         the Senate
             hereb y    certify     that      S. B. No. 1    passed        the     Senate         on
August 12, 2021,         by      the    following        vote:    Yeas 18,            Nays 11;
August 27, 2021, Senate refused to concur in House amendments an d

requested appointment            of Conference Committee;               August 29, 202 1,
House   granted        request     of   the    Senate;      August 31, 2021,              Senate

adopted       Conference          Committee        Report        by       the        follow in g
vote:       Yeas 18, Nays 13. ________________________




        I    hereb y   certif y    that
                                                    .th~~
                                           S. B. No. 1 passed the

amendments, on August 27, 2021, by the following vote:
                                                                                 House,      wi t h

                                                                                      Yeas 80,

Nays 41,      one present not voting; August 29, 2021, House granted

request      of the Senate for          appointment      of Conference Committe e ;

August 31 , 2021, House adopted Conference Committee Report by t he
fallowing vote:




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